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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION




IN RE:                                       I           CASE NUMBER
                                             I           19-22483
Costa Hollywood Property Owner, LLC          I
DEBTOR.                                      I           JUDGE:       AJC
                                             I
                                             I           CHAPTER 11
                                             I

         DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

                                    FOR THE PERIOD

                            FROM 11/01/2019 TO 11/30/2019


Comes now the above named debtor and files its Monthly Operating Reports in accordance
with the Guidelines established by the United States Trustee and FRBP 2015.



                                                          /s/ James C. Moon
                                                         Attorney for Debtor's Signature
                                                         James Moon

Debtor's Address                                         Attorney's Address
and Phone Number:                                        and Phone Number:
777 North Ocean Drive                                    3200 Southeast Financial Center
Hollywood, FL 33019                                      200 South Biscayne Blvd.
954-401-3370                                             Miami, FL 33131
                                                         305-358-6363




Note: The original Monthly Operating Report is to be filed with the court and a copy
simultaneously provided to the United States Trustee Office. Monthly Operating Reports
must be filed by the 20th day of the following month.


For assistance in preparing the Monthly Operating Report, refer to the following resources
on the United States Trustee Program Website, http://www.usdoj.gov/ust/r21/index.htm.
1) Instructions for Preparations of Debtor's Chapter 11 Monthly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs) http://www.usdoj.gov/ust/.
                                                 MOR-1
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                                MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont'd)
                                            Detail of Other Receipts and Other Disbursements

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.

                                                                                                           Cumulative
                           Description                                   Current Month
                                                                                                          Petition to Date
Interest BPPR Operating -9826                                     $                      0.54    $                             1.87
Interest BPPR Operating -9834                                                             -                                    0.02
Interest BOA Special Escrow Account -3162                                                3.28                                 13.70
Interest BOA Ten Percent Escrow Account -3167                                            3.59                                 15.00
Cash Banks/Registers - additional funds                                            2,703.57                              2,705.98
Loan from Moses Bensusan to open DIP accounts                                             -                                  100.00
Utilities - Security Deposits Refund                                                      -                             49,443.80
TOTAL OTHER RECEIPTS                                              $                  2,710.98    $                      52,280.37



"Other Receipts" includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties,
directors, related corporations, etc.) Please describe below:

       Loan Amount                       Source of Funds                   Purpose                    Repayment Schedule




OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line 5W.


                           Description                                   Current Month               Cumulative Petition to Date

Business Licenses                                                 $                   220.00     $                           808.00
Communications Equipment (Radios)                                                     457.96                                 915.92
Credit Card Fees                                                                      143.73                                 323.67
Dry Cleaning Services                                                                     -                                  102.99
Hotel Guest Parking & Breakfast                                                           -                                  437.25
Hotel Reservation System                                                           9,745.09                             15,541.80
Hotel Software                                                                    22,889.86                             23,539.86
Hotel Uniforms and Supplies                                                           806.36                             3,257.50
IT Support                                                                        15,044.99                             19,505.06
Linen Services                                                                       8,443.03                           33,894.06
Merchant Services - Chargeback                                                       2,743.14                           18,853.21
Merchant Services - MC/VS Fees                                                       5,584.42                            9,061.81
Occupancy Tax                                                                     17,000.36                             25,952.53
OTA Commission                                                                     7,014.35                             20,398.17
Postage                                                                               165.51                                 428.19
Reimbursable Payroll                                                             114,375.47                            295,890.21
Reimbursable - Hotel Operator                                                    158,055.43                           171,733.35
Reimbursable - Shared Facilities to Hotel Operation                               13,048.44                             13,048.44
Revenue Management Software                                                           775.00                             4,857.54
Sales Tax                                                                         21,642.89                             33,373.45
Shared Facilities Assessments Returned Check                                         3,338.45                            3,773.76
Wholesale Hotel Promoter                                                           1,911.92                              9,893.32
Trade Show                                                                                -                              5,800.00
Travel Expenses                                                                           -                                  660.27
Administrative & Bookkeeping / Controller                                         20,250.00                             33,750.00
Office Expenses                                                                    1,231.49                              1,231.49
Cash Transport                                                                        191.02                                 191.02
Hotel Marketing & Advertising                                                        2,578.09                            2,578.09
Hotel Supplies                                                                       2,797.85                            2,797.85
Hotel Cleaning Service                                                            10,176.00                             10,176.00
Prepetition Checks to Void                                                        (7,818.68)                                 -
TOTAL OTHER DISBURSEMENTS                                         $              432,812.17      $                    762,774.81

NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.



                                                                 MOR-3
                                                           Balance SheetFiled
                                                                         - Operating                                Date:   12/18/2019
                              Case 19-22483-AJC            Doc 195             12/23/19        Page 4 of 87
                                                  COSTA HOLLYWOOD PROPERTY OWNER LLC                                Time:   10:41 pm
                                                            End Date: 11/30/2019                                    Page:   1




Assets
   Cash
       10-1010-00        PCB - Operating - 9826                                         $14,142.00
       10-1013-00        MQ - DIB - OPER - 5257                                             420.08
    Total Cash:                                                                                              $14,562.08
    Assets
       12-1300-00        Exchange                                                           160.61
       12-1510-00        Due to Working Capital from Operating                          374,105.00
       12-1511-00        Due to Costa Hollywood from CH Condo Assoc                       4,982.78
       12-1840-00        Utility Deposits                                                 6,239.00
       12-1900-00        Accounts Receivable-Homeowners                               1,366,510.65
       12-1904-00        Allowance Rec - Dev. Reimbursement                             669,914.54
       12-1906-00        Capital Contribution Receivable                                  3,229.42
       12-1970-00        Pre-Paid Insurance                                              21,309.34
    Total Assets:                                                                                         $2,446,451.34
     Total Assets:                                                                                        $2,461,013.42
Liabilities & Equity
    Liabilities
        20-1510-00       Payable from Operating to Working Capital                      374,105.00
        20-1512-00       Due to Owner                                                   670,467.67
        20-1513-00       Payable to Moses Bensuan                                           100.00
        20-2500-00       Prepaid Assessments                                              9,711.92
        20-2580-00       Insurance Payable                                                4,415.44
    Total Liabilities:                                                                                    $1,058,800.03
    Equity
       39-3800-00        Capital Contributions                                          375,034.59
       39-3902-00        Retained Earnings-Pr Year's                                    279,853.84
       39-3905-00        Prior Period Adjustment                                       (218,400.78)
    Total Equity:                                                                                           $436,487.65
                         Net Income Gain / Loss                                         965,725.74
                                                                                                           $965,725.74

     Total Liabilities & Equity:                                                                          $2,461,013.42




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                                   Case 19-22483-AJC           Income Statement
                                                                 Doc 195        - Operating
                                                                             Filed  12/23/19              Page 5 of 87            Date:      12/18/2019
                                                     COSTA HOLLYWOOD PROPERTY OWNER LLC                                           Time:     10:41 pm
                                                                                                                                  Page:     1
                                                                           11/30/2019


                                                               Current Period                                    Year-to-date                             Annual
Description                                           Actual           Budget       Variance            Actual         Budget        Variance             Budget
OPERATING INCOME
  Revenue
    4000-00 Assessments - Homeowner              $291,327.24      $291,447.92       ($120.68)    $2,965,718.29   $3,205,927.12   ($240,208.83)    $3,497,375.08
    4100-00 Delinquent Fee Income                   5,600.00               -        5,600.00         36,275.00              -       36,275.00                -
    4503-00 Bank Interest Income-Operating              0.54               -            0.54             14.11              -           14.11                -
  Total Revenue                                  $296,927.78      $291,447.92      $5,479.86     $3,002,007.40   $3,205,927.12   ($203,919.72)    $3,497,375.08
Total OPERATING INCOME                           $296,927.78      $291,447.92      $5,479.86     $3,002,007.40   $3,205,927.12   ($203,919.72)    $3,497,375.08

OPERATING EXPENSE
  General and Administrative
    5000-00 Accounting / Audit Fees                       -            708.33         708.33               -         7,791.63        7,791.63           8,500.00
    5001-00 Professional Fees                      20,250.00               -      (20,250.00)       34,400.00              -       (34,400.00)                -
    5003-00 Booking Expenses                              -                -               -         4,220.45              -        (4,220.45)                -
    5206-00 Copies/Postage/Supplies                   261.31           650.00         388.69         1,854.51        7,150.00        5,295.49           7,800.00
    5212-00 Dues and Fees                                 -            250.00         250.00               -         2,750.00        2,750.00           3,000.00
    5302-00 Bank Service Charges                       60.00            41.67         (18.33)          198.00          458.37          260.37             500.00
    5305-00 Legal Expenses                                -          1,666.67       1,666.67        40,504.65       18,333.37      (22,171.28)         20,000.00
    5307-00 Legal Fee - Recovery                          -          1,500.00       1,500.00               -        16,500.00       16,500.00          18,000.00
    5406-00 Office Supplies / Expense                     -            700.00         700.00           104.79        7,700.00        7,595.21           8,400.00
    5416-00 IT Support                                    -          1,893.00       1,893.00               -        20,823.00       20,823.00          22,716.00
    5418-00 Remedial Work / Administrative                -                -               -           165.69              -          (165.69)                -
    Fee
    5604-00 Tax, License and Permit Fees                  -          1,000.00       1,000.00          1,025.85       11,000.00       9,974.15          12,000.00
    5709-00 Miscellaneous / Contingency                   -                -              -           4,754.47              -       (4,754.47)                -
    Expenses
    5710-00 Cell Phone - Staff Expense                    -            266.67           266.67        1,520.00        2,933.37       1,413.37           3,200.00
  Total General and Administrative                $20,571.31        $8,676.34    ($11,894.97)      $88,748.41       $95,439.74      $6,691.33      $104,116.00
  Insurance
    6002-00 Insurance - D&O Insurance                 589.42           405.25        (184.17)        6,483.62        4,457.75       (2,025.87)         4,863.00
    6004-00 Insurance - Flood                       6,516.17         6,516.17              -        71,677.87       71,677.87               -         78,194.00
    6009-00 Workers Comp Insurance                    117.67            58.83         (58.84)        1,294.37          647.13         (647.24)           706.00
    6010-00 Insurance - Umbrella                      667.67           781.25         113.58         7,344.37        8,593.75        1,249.38          9,375.00
    6012-00 Insurance - Property                   27,674.01        27,230.29        (443.72)      304,414.11      299,533.19       (4,880.92)       326,763.43
    6013-00 Insurance - Boiler/Machinery              681.50           681.50              -         7,496.50        7,496.50               -          8,178.00
    6015-00 Insurance - General Liability           6,155.83         6,485.98         330.15        67,714.13       71,345.78        3,631.65         77,831.81
    6016-00 Insurance - CRIME                         216.33           108.17        (108.16)        2,379.63        1,189.87       (1,189.76)         1,298.00
  Total Insurance                                 $42,618.60       $42,267.44       ($351.16)     $468,804.60     $464,941.84      ($3,862.76)     $507,209.24
  Utilities
    6304-00 Telephone                                     -                -               -         6,113.77              -         (6,113.77)              -
    6310-00 Internet Service                              -                -               -         4,837.99              -        (4,837.99)               -
    6311-00 Electricity                            66,093.00        45,833.33     (20,259.67)      409,117.11      504,166.63       95,049.52        550,000.00
    6312-00 Gas                                       502.76         4,000.00       3,497.24        20,152.50       44,000.00       23,847.50         48,000.00
    6313-00 Water and Sewer                               -         15,000.00      15,000.00       131,347.52      165,000.00       33,652.48        180,000.00
    6315-00 Cable TV                                      -          9,000.00       9,000.00        50,519.03       99,000.00       48,480.97        108,000.00
    6316-00 Waste Removal                           3,735.00               -       (3,735.00)       12,952.50              -       (12,952.50)               -
    6317-00 Bulk Waste Removal / Collection           384.78           890.00         505.22          (110.22)       9,790.00         9,900.22        10,680.00
  Total Utilities                                 $70,715.54       $74,723.33      $4,007.79      $634,930.20     $821,956.63    $187,026.43       $896,680.00
  Labor Expense
    6601-00 Payroll                                       -         96,361.55      96,361.55       405,933.72     1,059,977.05    654,043.33       1,156,338.56
    6603-00 Adminstrative Labor                     3,164.40               -       (3,164.40)        3,164.40               -      (3,164.40)                -
    6604-00 Maintenance and Janitorial Staff       18,896.29               -      (18,896.29)       25,361.69               -     (25,361.69)                -
  Total Labor Expense                             $22,060.69       $96,361.55     $74,300.86      $434,459.81    $1,059,977.05   $625,517.24      $1,156,338.56
  Contracts.
    6801-00 Pool / Spa Maintenance Contract               -            575.00         575.00        11,421.50        6,325.00       (5,096.50)          6,900.00
    6804-00 Key System Contract                           -            500.00         500.00               -         5,500.00        5,500.00           6,000.00
    6805-00 Pest Control Contract                         -            728.00         728.00         3,666.36        8,008.00        4,341.64           8,736.00
    6806-00 Management Services Contract            3,500.00         3,500.00              -        38,500.00       38,500.00               -          42,000.00
    6807-00 Landscaping Contract                    2,400.00         2,025.66        (374.34)        4,800.00       22,282.26       17,482.26          24,307.92
    6810-00 Trash Compactor Lease                     384.78           650.00         265.22           384.78        7,150.00        6,765.22           7,800.00
    6813-00 Camera/Audio/Vide Equipment               457.96           500.00          42.04         1,831.84        5,500.00        3,668.16           6,000.00



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                                 Case 19-22483-AJC           Income Statement
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                                                   COSTA HOLLYWOOD PROPERTY OWNER LLC                                            Time:     10:41 pm
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                                                                         11/30/2019


                                                             Current Period                                    Year-to-date                              Annual
Description                                         Actual           Budget       Variance            Actual         Budget          Variance            Budget
    6814-00 Alarm Monitoring Contract                  $-               $-             $-        $17,956.64             $-       ($17,956.64)            $-
    6817-00 Security Contract                    13,119.27            45.42     (13,073.85)       94,566.55          499.62       (94,066.93)         545.00
    6819-00 Copier Contract                             -            699.05         699.05         4,372.23        7,689.55         3,317.32        8,388.60
    6822-00 Health Club Equipment                       -            200.00         200.00        17,130.00        2,200.00       (14,930.00)       2,400.00
    6824-00 Fire System                                 -          1,874.50       1,874.50        21,971.64       20,619.50        (1,352.14)      22,493.96
    6828-00 Elevator Contract                           -          2,400.00       2,400.00        25,690.44       26,400.00           709.56       28,800.00
    6829-00 Indoor Plant Contract                       -            900.00         900.00               -         9,900.00         9,900.00       10,800.00
    6830-00 Beach Services Contract               9,500.00        12,000.00       2,500.00       104,500.00      132,000.00        27,500.00      144,000.00
    6833-00 HVAC Service Contract                 3,250.00         2,300.00        (950.00)       11,700.00       25,300.00        13,600.00       27,600.00
    6834-00 Window Cleaning Contract                    -          4,166.67       4,166.67         3,489.52       45,833.37        42,343.85       50,000.00
    6835-00 Generator Contract                      326.35           204.98        (121.37)          652.70        2,254.78         1,602.08        2,459.80
    6837-00 Telephone Equipment & Service               -         10,750.00      10,750.00               -       118,250.00       118,250.00      129,000.00
    Contract
  Total Contracts.                              $32,938.36       $44,019.28     $11,080.92      $362,634.20     $484,212.08      $121,577.88     $528,231.28
  Repairs and Maintenance
    7008-00 Janitorial Supplies                        -                 -                -        2,544.32              -         (2,544.32)                -
    7010-00 Plumbing Supplies                          -                 -                -        1,092.00              -         (1,092.00)                -
    7100-00 Electrical Repairs and                 875.00          1,000.00           125.00       4,376.88       11,000.00         6,623.12          12,000.00
    Maintenance
    7101-00 Plumbing Repairs and                        -          2,000.00       2,000.00         6,685.00       22,000.00        15,315.00          24,000.00
    Maintenance
    7103-00 Fire Alarm Maintenance                      -          2,500.00       2,500.00           399.00       27,500.00        27,101.00          30,000.00
    7104-00 Boiler Repairs and Maintenance              -            150.00         150.00               -         1,650.00         1,650.00           1,800.00
    7107-00 General Repairs and                         -                -              -          4,278.20              -         (4,278.20)                -
    Maintenance
    7110-00 HVAC Repairs and Maintenance          3,255.00         8,000.00       4,745.00        14,502.00       88,000.00        73,498.00          96,000.00
    7118-00 Electrical Supplies                         -                -              -          3,470.03              -         (3,470.03)                -
    7122-00 Lighting Repairs and                        -          5,000.00       5,000.00               -        55,000.00        55,000.00          60,000.00
    Maintenance
    7124-00 Elevator Repairs and                        -                -                -        1,713.72               -        (1,713.72)                -
    Maintenance
    7132-00 Security Repairs & Maintenance              -            500.00           500.00          64.74        5,500.00         5,435.26           6,000.00
    7401-00 Radios Repairs and Maintenance              -            750.00           750.00             -         8,250.00         8,250.00           9,000.00
    7502-00 Irrigation Repairs and                      -                -                -          183.50              -           (183.50)                -
    Maintenance
    7601-00 Common Area Maintenance                     -          5,000.00       5,000.00               -        55,000.00        55,000.00          60,000.00
    7603-00 Maintenance Supplies                  2,390.32               -       (2,390.32)        5,373.26              -         (5,373.26)                -
    7703-00 Pool Equipment and Supplies                 -                -               -            63.10              -            (63.10)                -
    7707-00 Pool Repairs and Maintenance                -            500.00         500.00         1,404.43        5,500.00         4,095.57           6,000.00
    7806-00 Roof Repairs and Maintenance                -                -               -           554.26              -           (554.26)                -
  Total Repairs and Maintenance                  $6,520.32       $25,400.00     $18,879.68       $46,704.44     $279,400.00      $232,695.56     $304,800.00
Total OPERATING EXPENSE                        $195,424.82      $291,447.94     $96,023.12     $2,036,281.66   $3,205,927.34    $1,169,645.68   $3,497,375.08

                               Net Income:     $101,502.96           ($0.02)   $101,502.98      $965,725.74           ($0.22)    $965,725.96              $0.00




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 R55FINRP52                                                                  Costa Hollywood                                                                                12/17/2019   11:37:11
 IAIM00001                                                                   Balance Sheet                                                                                  Page -                           1
                                                                    For the Period of November 30, 2019
                                              Current                  Last Month                         This Month             Monthly              Year over Year
                                              Month                        End                            Last Year              Change                  Change


ASSETS
   UNRESTRICTED CASH
         OPERATING                                       200,071                     195,467                           171,964               4,603                     28,107
         DEPOSITORY                                       52,006                      32,593                            14,250              19,413                     37,756
         DISBURSEMENT                                          0                       1,343-                                                1,343                          0
    TOTAL UNRESTRICTED CASH                              252,076                     226,718                           186,214              25,358                     65,862
   RESTRICTED CASH
   RECEIVABLES (NET)
         GUEST LEDGER                                     46,876                      10,152                            15,354              36,724                     31,522
         CITY LEDGER                                      17,880                      10,935                             2,107               6,945                     15,773
         AR OTHER                                        761,508                     748,851                            69,678              12,656                 691,830
                                                                                                                                                                                         Case 19-22483-AJC




    TOTAL RECEIVABLES (NET)                              826,263                     769,938                            87,139              56,325                 739,124
   INVENTORY
         BEVERAGE                                              0                             0                          32,061                   0                     32,061-
    TOTAL INVENTORY                                            0                             0                          32,061                   0                     32,061-
   PREPAID EXPENSES
                                                                                                                                                                                         Doc 195




         PREPAID INSURANCE                                   795                       1,061                                                  265-                       795
         PREPAID ADVERTISING                               1,095                       2,190                                                 1,095-                     1,095
         PREPAID OTHER                                    92,930                      96,518                                                 3,588-                    92,930
    TOTAL PREPAID EXPENSES                                94,820                      99,768                                                 4,948-                    94,820
   INVESTMENTS IN REAL ESTATE
   OTHER ASSETS
 TOTAL ASSETS                                           1,173,160                   1,096,424                          305,414              76,736                 867,746
                                                                                                                                                                                         Filed 12/23/19




LIABILITIES and OWNERS' EQUITY
   NOTES PAYABLE
   ACCOUNTS PAYABLE
         ACCOUNTS PAYABLE                                761,874                     883,461                           314,701             121,587-                447,173
         AP OTHER                                       1,143,046                    981,082                           103,974             161,964                1,039,072
    TOTAL ACCOUNTS PAYABLE                              1,904,920                   1,864,543                          418,675              40,377                1,486,245
                                                                                                                                                                                         Page 7 of 87




   ACCRUED EXPENSES
         ACCRUED PROPERTY MGMT FEES                       43,060                      43,060                              167                    0                     42,893
         ACCRUED SALARIES AND WAGES                       25,634                      17,175                            29,773               8,459                      4,139-
         ACCRUED PAYROLL TAXES AND BENEFITS                    0                             0                            851                    0                       851-
         ACCRUED WORKERS COMP                              4,089                       2,933                                                 1,156                      4,089
         ACCRUED VACATION AND PTO                         28,458                      27,063                            21,970               1,395                      6,488
         ACCRUED BONUS INCENTIVES - MGMT                       0                             0                         165,499                   0                 165,499-
         ACCRUED OTHER                                   273,012                     253,759                            59,052              19,253                 213,960
    TOTAL ACCRUED EXPENSES                               374,252                     343,989                           277,312              30,263                     96,940
R55FINRP52                                                              Costa Hollywood                                                                                12/17/2019   11:37:11
IAIM00001                                                               Balance Sheet                                                                                  Page -                           2
                                                               For the Period of November 30, 2019
                                        Current                   Last Month                         This Month              Monthly             Year over Year
                                        Month                         End                            Last Year               Change                 Change
  DEPOSITS
       OTHER DEPOSITS                               44,531                       53,539                             5,516               9,008-                    39,015
  TOTAL DEPOSITS                                    44,531                       53,539                             5,516               9,008-                    39,015
  TAXES PAYABLE
       SALES TAX PAYABLE                            81,422                       65,141                            29,092              16,282                     52,330
       OTHER TAX PAYABLE                            71,604-                      54,472-                           25,244-             17,132-                    46,360-
  TOTAL TAXES PAYABLE                                 9,819                      10,669                             3,848                850-                      5,971
  OWNERS' EQUITY
       DISTRIBUTIONS                               140,930-                     146,450-                          146,450-              5,520                      5,520
       CURRENT Y-T-D EARNINGS                      747,029-                     757,463-                          253,486-             10,434                 493,543-
       RETAINED EARNINGS - PRIOR YEAR              272,403-                     272,403-                                                    0                 272,403-
  TOTAL OWNERS' EQUITY                            1,160,361-                   1,176,316-                         399,936-             15,954                 760,425-
                                                                                                                                                                                    Case 19-22483-AJC




TOTAL LIABILITIES and OWNERS' EQUITY              1,173,160                    1,096,424                          305,415              76,736                 867,745
                                                                                                                                                                                    Doc 195
                                                                                                                                                                                    Filed 12/23/19
                                                                                                                                                                                    Page 8 of 87
                                                                                                                Costa Hollywood Resort & Condos (OpCo)
                                                                                                                        Statement of Operations
                                                                                                                               Nov 2019
                                                                                                                                Actual
Actual               %      Budget               %      Last Year             %      Var Budget                                                                YTD Actual          %      YTD Budget          %      YTD Last Year            %      YTD Var Budget


          6,990                       6,990                      6,112                          -                            Rooms Available                           76,428                     75,499                       8,608                              929
          1,992                       3,550                      1,131                       (1,558)                           Rooms Sold                              21,004                     35,535                       1,334                          (14,531)
          28.50                       50.79                      18.50                       (22.29)                           Occupancy                                27.48                      47.07                       15.50                           (19.58)
         192.61                      226.09                     194.88                       (33.48)                              ADR                                  223.87                     238.65                      189.84                           (14.78)
          54.89                      114.82                      36.06                       (59.93)                         Rooms RevPAR                               61.52                     112.32                       29.42                           (50.80)
          59.45                      132.52                      43.78                       (73.07)                          Total RevPAR                              71.77                     128.89                       36.29                           (57.12)

                                                                                                                       OPERATING REVENUE
     383,670        92.33        802,606        86.65          220,414       82.37         (418,936)                            Rooms                               4,702,159     85.72        8,480,330     87.14           253,240         81.07          (3,778,171)
         -          0.00             -          0.00            21,915       8.19               -                         Food and Beverage                           180,246     3.29            84,895     0.87             28,936         9.26               95,351
         137        0.03          53,521        5.78            22,214       8.30           (53,384)                  Other Operated Departments                      245,244     4.47           548,601     5.64             26,477         8.48             (303,358)
      31,744        7.64          70,186        7.58             3,051       1.14           (38,442)                     Miscellaneous Income                         357,739     6.52           617,551     6.35              3,735         1.20             (259,812)
     415,551       100.00        926,313       100.00          267,594      100.00         (510,762)                TOTAL OPERATING REVENUE                         5,485,388    100.00        9,731,377    100.00           312,388        100.00          (4,245,989)

                                                                                                                   DEPARTMENTAL EXPENSES
         89,764    23.40         207,969       25.91            87,384       39.65         (118,205)                           Rooms                                1,528,889    32.51         2,097,052    24.73            117,320         46.33           (568,163)
            -      0.00              -         0.00             22,866      104.34              -                        Food and Beverage                            121,437    67.37            68,827    81.07             32,504        112.33             52,611
              34   25.04          19,607       36.63            21,065       94.83          (19,573)                 Other Operated Departments                       112,834    46.01           200,956    36.63             24,510         92.57            (88,122)
         89,798    21.61         227,576       24.57           131,315       49.07         (137,778)            TOTAL DEPARTMENTAL EXPENSES                         1,763,161    32.14         2,366,835    24.32            174,334         55.81           (603,674)

                                                                                                                     DEPARTMENTAL PROFIT
     293,906        76.60        594,637        74.09          133,030       60.35         (300,731)                            Rooms                               3,173,270     67.49        6,383,277     75.27           135,920         53.67          (3,210,008)
         -          0.00             -          0.00              (951)      -4.34              -                          Food & Beverage                             58,808     32.63           16,068     18.93            (3,568)       -12.33              42,741
         103        74.96         33,914        63.37            1,149        5.17          (33,811)                  Other Operated Departments                      132,410     53.99          347,645     63.37             1,967         7.43             (215,236)
      31,744       100.00         70,186       100.00            3,051      100.00          (38,442)                     Miscellaneous Income                         357,739    100.00          617,551    100.00             3,735        100.00            (259,812)
     325,753        78.39        698,737        75.43          136,280       50.93         (372,984)              TOTAL DEPARTMENTAL PROFIT                         3,722,227     67.86        7,364,542     75.68           138,054         44.19          (3,642,315)

                                                                                                              UNDISTRIBUTED OPERATING EXPENSES
     228,865       55.08         440,370       47.54           180,877      67.59          (211,506)                    Administrative and General                  3,060,465    55.79         4,694,176    48.24            242,808         77.73          (1,633,712)
                                                                                                                                                                                                                                                                          Case 19-22483-AJC




       9,237       2.22           14,361       1.55              5,164      1.93             (5,124)           Information and Telecommunications Systems             158,293    2.89            160,499    1.65               7,287         2.33               (2,206)
      40,243       9.68           67,689       7.31             64,259      24.01           (27,446)                       Sales and Marketing                        635,803    11.59           804,016    8.26              95,450         30.55            (168,213)
         383       0.09            6,904       0.75              3,040      1.14             (6,521)               Property Operation and Maintenance                  60,479    1.10             78,817    0.81               3,415         1.09              (18,338)
     278,727       67.07         529,324       57.14           253,339      94.67          (250,597)       TOTAL UNDISTRIBUTED OPERATING EXPENSES                   3,915,040    71.37         5,737,508    58.96            348,960        111.71          (1,822,468)

         47,026    11.32         169,413       18.29          (117,060)     -43.75         (122,387)                 GROSS OPERATING PROFIT                          (192,813)   -3.52         1,627,034    16.72            (210,906)      -67.51          (1,819,847)

         35,000     8.42             35,000     3.78            30,000      11.21                 -                      MANAGEMENT FEES                              385,000     7.02           385,919     3.97             42,581        13.63                (919)
                                                                                                                                                                                                                                                                          Doc 195




            -       0.00                -       0.00                  -      0.00                 -          Unallocated Dept Balance (Laundry/Staff Dining)                -     0.00                 -     0.00                     (0)    0.00                  -

         12,026     2.89         134,413       14.51          (147,060)     -54.96         (122,387)   INCOME BEFORE NON-OPERATING INCOME AND EXPENSES               (577,813)   -10.53        1,241,115    12.75            (253,486)      -81.14          (1,818,928)

                                                                                                              NON-OPERATING INCOME AND EXPENSES
            274     0.07               304      0.03            (4,600)     -1.72               (30)                       Insurance                                    5,406     0.10             3,344     0.03                 -          0.00               2,062
            -       0.00               -        0.00               -         0.00               -                            Other                                       (173)    0.00               -       0.00                 -          0.00                (173)
          1,317     0.32               -        0.00               -         0.00             1,317                      Owners Expense                               163,983     2.99            38,168     0.39                 -          0.00             125,815
          1,592     0.38               304      0.03            (4,600)     -1.72             1,288        TOTAL NON-OPERATING INCOME AND EXPENSES                    169,216     3.08            41,512     0.43                 -          0.00             127,704

                                                                                                       EARNINGS BEFORE INTEREST, TAXES, DEPRECIATION AND
         10,434     2.51         134,109       14.48          (142,460)     -53.24         (123,675)                                                                 (747,029)   -13.62        1,199,603    12.33            (253,486)      -81.14          (1,946,631)
                                                                                                                         AMORTIZATION

          4,286     1.03              9,263     1.00                2,675    1.00            (4,977)                  REPLACEMENT RESERVE                              54,983     1.00            97,314     1.00               3,123        1.00             (42,330)
                                                                                                                                                                                                                                                                          Filed 12/23/19




          6,148     1.48         124,846       13.48          (145,135)     -54.24         (118,698)           EBITDA LESS REPLACEMENT RESERVE                       (802,012)   -14.62        1,102,289    11.33            (256,610)      -82.14          (1,904,301)

         (4,286)   -1.03             (9,263)   -1.00            (2,675)     -1.00             4,977              REPLACEMENT RESERVE-CONTRA                           (54,983)   -1.00           (97,314)   -1.00              (3,123)      -1.00              42,330

                                                                                                        INTEREST, DEPRECIATION, AMORTIZATION AND OTHER

         10,434     2.51         134,109       14.48          (142,460)     -53.24         (123,675)              INCOME BEFORE INCOME TAXES                         (747,029)   -13.62        1,199,603    12.33            (253,486)      -81.14          (1,946,631)


         10,434     2.51         134,109       14.48          (142,460)     -53.24         (123,675)                         NET INCOME                              (747,029)   -13.62        1,199,603    12.33            (253,486)      -81.14          (1,946,631)
                                                                                                                                                                                                                                                                          Page 9 of 87




                                                                                                                                                                                                                                                               Page 1 of 41
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                                                             ATTACHMENT 1
                               MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor:               Costa Hollywood Property Owner, LLC               Case Number:     19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

ACCOUNTS RECEIVABLE AT PETITION DATE:                                       $     2,219,489.27

                                            ACCOUNTS RECEIVABLE RECONCILIATION
(include all accounts receivable, pre-petition and post-petition, including charge card sales which have not been received):


                               Beginning of Month Balance:                                        $         2,424,881.50      (a)
                                PLUS: Current Month New Billings                                  $           825,391.15
                                MINUS: Collections During the Month                               $          (547,414.88)     (b)
                                PLUS/MINUS: Adjustments of Write-offs                             $            (2,261.04)     *
                               End of Month Balance                                               $         2,700,596.73      (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:
The adjustment of $2,261.04 is for Prepaid Assessments which are not recorded as paid until the following month.



                                       POST PETITION ACCOUNTS RECEIVABLE AGING
                              (Show the total amount for each aging category for all accounts receivable)


        0-30 Days                  31-60 Days               61-90 Days           Over 90 Days               Total

$               298,770.73     $       252,766.64       $     190,150.62        $ 1,918,663.94 $            2,660,351.93 (c)


For any receivables in the "Over 90 Days" category, please provide the following:

                                   Receivable          Status (Collection efforts taken, estimate of collectibility, write-
    Customer
                                      Date             off, disputed account, etc.)
See Attached.                  See attached




(a) This number is carried forward from last month's report. For the first report only, this number will be the balance as of the petition
date.
(b) This must equal the number reported in the "Current Month" column of Schedule of Receipts and Disbursements (Page MOR-2,
Line 2B).
(c) These two amounts must equal.




                                                                    MOR-4
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                                   ATTACHMENT 1A
Name of DebCosta Hollywood Property Owner, LLC
Case Numbe19-22483
Reporting Period beginning 11/01/2019 and ending 11/30/2019
Accounts Receivable - Over 90 Days - Unit Owners

 Receivable
              Customer (Unit Owner)                           Collection Status
   Date

 07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

 07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

 08/01/2019   4404 Miramar, LLC                               To be sent to collections.

 07/01/2019   Dom Entertainment & Marketing, Inc.             Arranging payment plan.

 07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

 07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

 07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

 07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

 07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

 07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

 07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

                                                              Balance to be offset by Unit Owner Hotel
 07/01/2019   H L Alves Properties, LLC
                                                              Revenue Share.
                                                              Balance to be offset by Unit Owner Hotel
 07/01/2019   H L Alves Properties, LLC
                                                              Revenue Share.
                                                              Balance to be offset by Unit Owner Hotel
 07/01/2019   Dream Properties FL, LLC
                                                              Revenue Share.
                                                              Balance to be offset by Unit Owner Hotel
 07/01/2019   Meeting Group Corporation
                                                              Revenue Share.
                                                              Balance to be offset by Unit Owner Hotel
 07/01/2019   Nicholas Bays & Geraldine Bays
                                                              Revenue Share.
                                                              Balance to be offset by Unit Owner Hotel
 08/01/2019   Shelton Florida, LLC
                                                              Revenue Share.
                                                              Balance to be offset by Unit Owner Hotel
 07/01/2019   Real State Hope, LLC
                                                              Revenue Share.
                                                              Balance to be offset by Unit Owner Hotel
 07/01/2019   Costa Hollywood S507, LLC
                                                              Revenue Share.
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                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Richard's Holding, LLC
                                                           Revenue Share.

07/01/2019   Skylanders Corp                               Collection Status: At Attorney/Collections

                                                           Balance to be offset by Unit Owner Hotel
08/01/2019   Queen International Services, LLC
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Dream Properties FL, LLC.
                                                           Revenue Share.

07/01/2019   Edisson, LLC.                                 Collection Status: Pending Approval

                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Blue Jasmine Investments, LLC.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Costa Hollywood N229, LLC
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Elvigia Jauregui
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
08/01/2019   Blanca Bermudez & Robertilio Bermudez
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Marc-Andre Dayan Management, LLC.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
08/01/2019   Derland Corp.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
08/01/2019   Landflex Corp
                                                           Revenue Share.

07/01/2019   Judah Bendayan                                Collection Status: At Attorney/Collections

                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Emphyre Networks Corp.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Holly Beach, Inc.
                                                           Revenue Share.

07/01/2019   Lanki, LLC                                    Collection Status: At Attorney/Collections

                                                           Balance to be offset by Unit Owner Hotel
08/01/2019   Solari Company, LLC
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
08/01/2019   Mabe Group LLC
                                                           Revenue Share.

07/01/2019   Judah Bendayan                                Collection Status: At Attorney/Collections

                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Los 3 Panas LLC
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Migajas, LLC.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Slampol, LLC.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Sunburst, LLC.
                                                           Revenue Share.
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                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Cumbre CP, LLC.
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Berecosta 333, LLC
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Isaac Dahan
                                                             Revenue Share.

09/01/2019   Los Tilos Investments, LLC                      Late fees balance.

                                                             Balance to be offset by Unit Owner Hotel
08/01/2019   Rapallo Group, LLC
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Punta Colorada, LLC.
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Investissement Pierre Brisson, Inc.
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   CHC Investment N417, LLC
                                                             Revenue Share.

07/01/2019   Arca Magna, LLC.                                Collection Status: At Attorney/Collections

                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Robea, LLC.
                                                             Revenue Share.

07/01/2019   Costa Hollywood Property Owner, LLC             Debtor's unit.

09/01/2019   Buttonwood Partners Asset Management, LLC       Late fees balance.

                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Costa Monrovia Properties, LLC.
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Duo Soli, LLC.
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   VNK 430, LLC.
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
08/01/2019   Ximec I, LLC
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Rodsol Investments Corp.
                                                             Revenue Share.

07/01/2019   El Turpial, LLC.                                Collection Status: At Attorney/Collections

                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Hollywood Rental Properties, Inc.
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Jesus M. Campos
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   CHC Investment N526, LLC.
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
08/01/2019   Paraggi Group, LLC
                                                             Revenue Share.
                                                             Balance to be offset by Unit Owner Hotel
07/01/2019   Gloria Fiorito
                                                             Revenue Share.
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07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   William G. Gibbs Tr.                       Collection Status: At Attorney/Collections

07/01/2019   Arlette, LLC.                              Collection Status: Friendly Reminder

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.
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07/01/2019   Costa Hollywood Property Owner, LLC           Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC           Debtor's unit.

09/01/2019   Amab Investment, LLC                          Late fees balance.

                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   FLDO, LLC.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Sofel Investments, LLC.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Estragiz, LLC.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Faseju, LLC.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Cumbre CP, LLC.
                                                           Revenue Share.

07/01/2019   Costa Hollywood Property Owner, LLC           Debtor's unit.

07/01/2019   Skylanders Corp.                              Collection Status: At Attorney/Collections

07/01/2019   Societe En Commandite MCSBFL Immobilier       Collection Status: Friendly Reminder

                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Jai Properites Corp.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Jai Properites Corp.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Shelton Florida, LLC.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Costa Hollywood S303, Inc.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Lumath USA. LLC.
                                                           Revenue Share.

07/01/2019   Judah Benlolo                                 Collection Status: At Attorney/Collections

                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Hollywood Rental Properties, Inc.
                                                           Revenue Share.
                                                           Balance to be offset by Unit Owner Hotel
07/01/2019   Kellbrick, LLC.
                                                           Revenue Share.

08/01/2019   Pagana, LLC                                   To be sent to collections.

07/01/2019   CHS313E2, LLC.                                Late fees balance.

07/01/2019   Fujii Davalos Investments, LLC.               Collection Status: At Attorney/Collections

07/01/2019   Galuma USA, LLC.                              Collection Status: At Attorney/Collections
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                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Aachen, LLC.
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Tamgol, LLC.
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Miami Real Exposure LLC
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Juan Maggi
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
08/01/2019   El Sheik Corp
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Flario Investments. LLC.
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Salomon Resler
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Lumath USA, LLC.
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Olantalia, LLC.
                                                        Revenue Share.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   MOGF Hollywood Inc
                                                        Revenue Share.

07/01/2019   Rio-Miami Real Estate, LLC.                Collection Status: At Attorney/Collections

                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   MOGF Hollywood, Inc
                                                        Revenue Share.

09/01/2019   Fexagaro LLC                               Late fees balance.

07/01/2019   Costainvest, LLC.                          Collection Status: At Attorney/Collections

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Nobles 6, LLC.
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   MRE7C, LLC
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Gloria Fiorito
                                                        Revenue Share.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Kaminka, LLC.
                                                        Revenue Share.

09/01/2019   Amab Investment, LLC                       Late fees balance.
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07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Veccal Group, LLC.
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   MOGF Hollywood Inc
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   MOGF Hollywood Inc.
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Sagek Inc.
                                                        Revenue Share.

07/01/2019   Adeiny Hechaverria                         Collection Status: At Attorney/Collections

                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Gloria Fiorito
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Alexandra Pelts
                                                        Revenue Share.

07/01/2019   Hollywood Welrou, LLC.                     Collection Status: Friendly Reminder

07/01/2019   Hollywood Welrou, LLC.                     Collection Status: Friendly Reminder

07/01/2019   Hollywood Welrou, LLC.                     Collection Status: Friendly Reminder

07/01/2019   Hollywood Welrou, LLC.                     Collection Status: Friendly Reminder

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Kaleval, LLC.
                                                        Revenue Share.
                                                        Balance to be offset by Unit Owner Hotel
07/01/2019   Boss Matias Investments Inc.
                                                        Revenue Share.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Jose Imbe                                  Late fees balance.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.
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07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

07/01/2019   Costa Hollywood Property Owner, LLC        Debtor's unit.

03/31/2019   Evolution Hospitality, LLC                 Task force - employee sharing
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                                               ATTACHMENT 2
                           MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

  Name of Debtor: Costa Hollywood Property Owner, LLC                         Case Number:      19-22483

  Reporting Period beginning 11/01/2019 and ending 11/30/2019

  In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include amounts owed
  prior to filing the petition. In the alternative, a computer generated list of payables may be attached provided all information
  requested below is included.
                                                                    `
       Date              Days
     Incurred         Outstanding          Vendor                     Description                            Amount
                                         See Attached                                            $                    290,086.18
                                                                                                                             -
                                                                                                                             -
                                                                                                                             -
                                                                                                                             -
                                                                                                                             -
                                                                                                                             -
  TOTAL AMOUNT                                                                                   $                    290,086.18 (b)

X Check here if pre-petition debts have been paid. Attach an explanation and copies of supporting
  documentation.

                    ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only):
  Opening balance                                                          $                                          288,927.94      (a)
   PLUS: New Indebtedness Incurred This Month                              $                                          299,957.60
   MINUS: Amount Paid on Post Petition,
           Accounts Payable This Month                                     $                                         (298,033.99)
    PLUS/MINUS: Adjustments                                                $                                             (765.37) *
  Ending Month Balance                                                     $                                          290,086.18 (c)

  *For any adjustments provided explanation and supporting documentation, if applicable.

                                                SECURED PAYMENTS REPORT
  List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a modification
  agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee Program prior to
  completing this section.
                                                                              Number of
                Secured               Date Payment          Amount                                   Total Amount of
                                                                             Post Petition
               Creditor /                Due This          Paid This                             Post Petition Payments
                                                                              Payments
                 Lessor                   Month              Month                                     Delinquent
                                                                              Delinquent
                                                                                                 $                             -




  TOTAL                                                    $            -   (d)
  (a) This number is carried from last month's report. For the first report only, this number will be zero.
  (b,c)The total of line (b) must equal line (c).
  (d)This number is reported in the "Current Month" column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).




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                                              ATTACHMENT 2A
Name of Debtor:         Costa Hollywood Property Owner, LLC
Case Number:            19-22483
Reporting Period beginning 11/01/2019 and ending 11/30/2019
Accounts Payable - Invoices or bills incurred and not paid since the filing of the petition.

                   Days
Date Incurred               Vendor                                Description                                Amount
                Outstanding

 09/23/2019         68     Evolution Hospitality, LLC             Management Fees                          35,000.00

 09/24/2019         67     ECOLAB INC.                            Rooms – cleaning supplies                  106.95

 10/01/2019         60     Arctic Glacier U.S.A. Inc.             Owners expense -Ice Machine - rentals     2,250.00

 10/16/2019         45     Office Depot                           A&G -Office Supplies                        39.86

 10/23/2019         38     Office Depot                           A&G -Office Supplies                       (165.90)

 10/29/2019         32     CENTRADA SOLUTIONS, LLC                IT Support                                 125.00

 10/30/2019         31     CARLOS MOLINET - PETTY CASH Petty Cash Replenishment                              437.25

 10/31/2019         30     US FOOD SERVICE                        Rooms - operating supplies                2,940.69

 11/01/2019         29     Aimbridge Hospitality, LLC             A&G - legal                               2,933.04

 11/01/2019         29     Brink's Incorporated                   A&G – armor car                            176.06

 11/01/2019         29     CENTRADA SOLUTIONS, LLC                IT Support                                1,512.44

 11/01/2019         29     CENTRADA SOLUTIONS, LLC                IT Support                                 350.00

 11/01/2019         29     Evolution Hospitality, LLC             Management Fees                          35,000.00

 11/01/2019         29     Evolution Hospitality, LLC             Sales - Revenue Management Fee            2,060.00

 11/01/2019         29     Evolution Hospitality, LLC             Sales - Second Wave Retainer              2,050.00

 11/04/2019         26     US FOOD SERVICE                        Rooms - operating supplies                 113.70

 11/06/2019         24     Aimbridge Hospitality, LLC             A&G - recruiting                            56.87

 11/06/2019         24     Aimbridge Hospitality, LLC             A&G - recruiting                            54.83

 11/07/2019         23     Aimbridge Hospitality, LLC             A&G - recruiting                           381.76

 11/07/2019         23     Aimbridge Hospitality, LLC             A&G - recruiting                            61.24

 11/07/2019         23     Aimbridge Hospitality, LLC             IT - One Source                            100.00

 11/07/2019         23     Aimbridge Hospitality, LLC             A&G - Health Insurance                      11.27
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11/07/2019   23     Evolution Hospitality, LLC             A&G - Health Insurance                           5.50

11/07/2019   23     Evolution Hospitality, LLC             Sales - Advertising                          8,000.00

11/09/2019   21     Aimbridge Hospitality, LLC             A&G - Health Insurance                      16,599.68

11/09/2019   21     Aimbridge Hospitality, LLC             A&G - Health Insurance                       1,209.37

11/09/2019   21     Aimbridge Hospitality, LLC             A&G - Health Insurance                        135.25

11/09/2019   21     Aimbridge Hospitality, LLC             A&G - Health Insurance                        881.13

11/09/2019   21     Aimbridge Hospitality, LLC             A&G - Health Insurance                        125.42

11/09/2019   21     Aimbridge Hospitality, LLC             A&G - Health Insurance                           5.23

11/09/2019   21     Evolution Hospitality, LLC             A&G - Travel                                  658.30

11/09/2019   21     HOTELIER LINEN SERVICES                Rooms - laundry                              2,160.76

11/11/2019   19     SUPPLYWORKS                            Engineering - Supplies                        112.14

11/11/2019   19     SUPPLYWORKS                            Engineering - Supplies                        154.59

11/12/2019   18     SUPPLYWORKS                            Engineering - Supplies                        (112.14)

11/14/2019   16     Aimbridge Hospitality, LLC             A&G - Health Insurance                           0.37

11/14/2019   16     SUPPLYWORKS                            Engineering - Supplies                        112.14

11/14/2019   16     US FOOD SERVICE                        Rooms - operating supplies                    151.60

11/15/2019   15     UNIQUE HOTEL SOLUTIONS                 Sales - contract services                    1,500.00

11/16/2019   14     FASHION CLEANERS INC                   Rooms - uniforms                                 4.31

11/16/2019   14     HOTELIER LINEN SERVICES                Rooms - laundry                              1,992.32

11/17/2019   13     AIR ESSCENTIALS                        Rooms - operating supplies                    444.05

11/18/2019   12     Aimbridge Hospitality, LLC             A&G - Health Insurance                        557.60

11/18/2019   12     EXPEDIA INC.                           Rooms - TA commissions                        (446.28)

11/19/2019   11     Evolution Hospitality, LLC             A&G - Chu PTEB                               2,024.83

11/19/2019   11     Evolution Hospitality, LLC             A&G - Chu Wages                              7,787.82

11/19/2019   11     ROSENTHAL & ROSENTHAL, INC. Rooms - linen                                           1,032.63

11/22/2019   8      Aimbridge Hospitality, LLC             A&G - Recruiting                                 2.50
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 11/22/2019           8        Evolution Hospitality, LLC             A&G - Recruiting                               3.00

 11/22/2019           8        Evolution Hospitality, LLC             A&G - Recruiting                               3.93

 11/25/2019           5        Evolution Hospitality, LLC             A&G - Recruiting                            179.41

                               Costa Hollywood Property Owner,        Shared Facilities Labor / Cell Phones
 10/31/2019           30                                                                                        44,405.25
                               LLC                                    Reimbursement

 11/01/2019           29       American Pool Service Inc.             Pool/Spa Service                           1,745.00

 11/01/2019           29       Atlantic Radio Communications Corp. Communications Equipment                       457.96

 11/01/2019           29       KONE Inc.                              Maintenance:Elevators                      5,410.56

 11/07/2019           23       FPL                                    Utilities:Electricity                     11,548.98

 11/07/2019           23       FPL                                    Utilities:Electricity                     14,303.53

 11/07/2019           23       FPL                                    Utilities:Electricity                      7,257.82

 11/07/2019           23       FPL                                    Utilities:Electricity                      5,578.37

 11/08/2019           22       Federal Tactics Security, Inc.         Security                                  13,782.40

 11/11/2019           19       Great American Financial Services      Copier                                      550.05

 11/13/2019           17       City of Hollywood                      Utilities:Water and Sewer                  4,731.13

 11/13/2019           17       City of Hollywood                      Utilities:Water and Sewer                  4,770.40

 11/13/2019           17       iTekz, LLC                             IT Support                                 3,000.00

 11/13/2019           17       iTekz, LLC                             Elevators                                  2,300.00

 11/14/2019           16       TECO                                   Utilities:Gas & Diesel                      430.60

 11/14/2019           16       TECO                                   Utilities:Gas & Diesel                      258.39

 11/19/2019           11       Great American Financial Services      Copier                                      403.37

 11/19/2019           11       Pro Water Treatment, Inc.              Maintenance:HVAC                            650.00

 11/25/2019           5        United Leasing, Inc.                   Leases:Gym Equipment                       2,173.40

 11/29/2019           1        Airstron, Inc.                         HVAC                                        256.00

 11/29/2019           1        Airstron, Inc.                         HVAC                                        418.00

                               Costa Hollywood Property Owner,        Shared Facilities Labor / Cell Phones
 11/30/2019           0                                                                                         34,774.45
                               LLC                                    Reimbursement

Total Invoices or bills incurred and not paid since the filing of the petition.                                290,086.18
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                                                    ATTACHMENT 3
                                                                                           Page 23 of 87
                                           INVENTORY AND FIXED ASSET REPORT

Name of Debtor:      Costa Hollywood Property Owner, LLC             Case Number:      19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

                                                   INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE:                                   $                                               -
INVENTORY RECONCILIATION:
Inventory Balance at Beginning of Month                               $                                               -      (a)
     PLUS: Inventory Purchased During Month                           $                                               -
     MINUS: Inventory Used or Sold                                    $                                               -
     PLUS/MINUS: Adjustments or Write-downs                           $                                               -      *
Inventory on Hand at End of Month                                     $                                               -

METHOD OF COSTING INVENTORY:

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

                                                     INVENTORY AGING

   Less than 6          6 months to               Greater than            Considered
   months old           2 years old                2 years old             Obsolete       Total Inventory

           0.00%                0.00%                      0.00%                0.00% =                                   0% *

*Aging Percentages must equal 100%
Check here if inventory contains perishable items.

Description of Obsolete Inventory:

                                                  FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE:                                          $                 51,555,235.06 (b)
(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION: (First Report Only):


FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month                                              $                 51,555,235.06 (a)(b)
     MINUS: Depreciation Expense                                                          $                             -
     PLUS: New purchases                                                                  $                             -
     PLUS/MINUS: Adjustments or Write-downs                                               $                             - *
Ending Monthly Balance                                                                    $                 51,555,235.06

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD:


(a) This number is carried forward from last month's report. For the first report only, this number will be the balance as of
the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.
    Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.




                                                             MOR-6
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                                                    ATTACHMENT 4A

                          MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          Banco Popular de Puerto Rico                      BRANCH:                 Miami Lakes, FL


ACCOUNT NAME:          Costa Hollywood Property Owner LLC Operating      ACCOUNT NUMBER: *9826


PURPOSE OF ACCOUNT:                     Operating


    Ending Balance Per Bank Statement                                                             $            13,706.69
    Plus Total Amount of Outstanding Deposits                                                     $               435.31
    Minus Total Amount of Outstanding Checks and other debits                                     $                  -   *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $            14,142.00 **(a)

*Debit cards are used by __No Debit Cards_________________________________________________

** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                   $                      105,492.54     Transferred to DIP Operating Account (Marquis Bank)
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                     STANDARD BANK RECONCILIATION

                                     Month         November       Year            2019

           Account No. *9826                                         Account Name        Costa Hollywood Property Owner LLC Operating


Bank Balance shown on Bank Statement                          $    13,706.69             Your transaction register balance        $    14,142.00

Add (+)                                                                                  Add (+)
Deposits not shown on Bank Statement                          $      435.31              Other credits shown on the bank
                                                                                         statement but not in transaction register $
Total                                                         $    14,142.00
                                                                                         Add (+)
Subtract (-)                                                                             Interest paid on bank statement          $
Checks and other items outstanding but not
paid on Bank Statement                                                                   Total                                    $    14,142.00

Number     Amount        Number      Amount                                              Subtract (-)
           $                         $                                                   Other debits shown on bank statement
                                                                                         but not in transaction register

                                                                                         Number       Amount
                                                                                                      $




                                     Total Subtractions       $          -                            Total Subtractions          $          -

                                     Balance                  $    14,142.00                          Balance                     $    14,142.00
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                                                  ATTACHMENT 5A

                                 CHECK REGISTER- OPERATING ACCOUNT

Name of Debtor: Costa Hollywood Property Owner, LLC                  Case Number:             19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019


NAME OF BANK:                   Banco Popular de Puerto Rico         BRANCH:                  Miami Lakes, FL


ACCOUNT NAME:                   Costa Hollywood Property Owner LLC Operating

ACCOUNT NUMBER:                 *9826

PURPOSE OF ACCOUNT:                   Operating

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer
generated check register can be attached to this report, provided all the information requested below is
included.

                     Check
     Date                               Payee                        Purpose                        Amount
                    Number
     11/07/2019                 Green Peare LLC           RETURN SETTLE AACH RTN               $          (438.89)

     11/07/2019                 Green Peare LLC           RETURN SETTLE AACH RTN                          (729.09)

     11/07/2019                 Green Peare LLC           RETURN SETTLE AACH RTN                          (833.42)

     11/14/2019                 La Costa 27 LLC           RETURN SETTLE AACH RTN                         (1,337.05)




TOTAL                                                                                          $       (3,338.45)




                                                      MOR-8
                                                                                                                                     00001924 00006814 0001 0003 JOB113009 01
                                                                Case 19-22483-AJC             Doc 195      Filed 12/23/19       Page 27 of 87




                                                           Last statement: October 31, 2019                            Page 1 of 3
                                                           This statement: November 29, 2019                           ██████
                                                                                                                       6811829826
                                                           Total days in statement period: 29                          (0)

                                                                                                                       Direct inquiries to:
                                                                                                                       Customer Care Center,
                                                           00001924 JOB113009 01 MC00 0000                             1-800-377-0800
                                101010101010101010101010
                                110000001110100000100011
                                100100110010110110111100
                                110100111010011110101101
                                101110101110110000100000
                                101111110010110011001111
                                101100111001000000000100
                                110101000000000101110111
                                                           COSTA HOLLYWOOD PROPERTY OWNER LLC
                                111000100111101011111110
                                110011000100011101101111
                                100110010000111011010000
                                111110110010101100000011
                                101001000010111110010010
                                110001001011001010001101
                                100101100111000101110100
                                100111001000110000010001
                                110010001010100111111010
                                110111110111000011010001
                                100011100101111011110100
                                                           OPERATING                                                   Popular
                                110101110100101101000011
                                110110101000110100000110
                                101011011111110011111101
                                100001101000100010100010
                                111111111111111111111111
                                                           C/O ASG                                                     P.O. Box 4890
                                                           9050 PINES BLVD SUITE 480                                   Miami Lakes, FL 33014
                                                           PEMBROKE PINES FL 33024-6432




                           Pab Business Interest Checking
                                                           Account number                    ██████
                                                                                             6811829826    Beginning balance                    $2,166.28
                                                           Low balance                         $1,337.05   Total additions                     120,371.40
                                                           Average balance                    $34,689.11   Total subtractions                  108,830.99
                                                           Avg collected balance              $33,932.00   Ending balance                      $13,706.69
                                                           Interest paid year to date             $12.33

                              DEBITS
                                                           Date Description                                                                Subtractions
                                                           11-07 'ACH Return Items                                                               438.89
                                                                      RETURN SETTLE AACH RTN - R01Green Peare LLC Gr
                                                                      S503ORIGINAL ENTRYEFF DATE = 191105
                                                                      000026008816948810
                                                           11-07 'ACH Return Items                                                                     729.09
                                                                      RETURN SETTLE AACH RTN - R01Green Peare LLC Gr
                                                                      S502ORIGINAL ENTRYEFF DATE = 191105
                                                                      000026008816948822
                                                           11-07 'ACH Return Items                                                                     833.42
                                                                      RETURN SETTLE AACH RTN - R01Green Peare LLC Gr
                                                                      S501ORIGINAL ENTRYEFF DATE = 191105
                                                                      000026008816948834
                                                           11-13 'Wire Transfer-out                                                               56,339.11
                                                                      DEBTOR-IN-POSSESSIDEBTOR-IN-POSSESSION
                                                                      000000000000000107
                                                           11-14 'ACH Return Items                                                                  1,337.05
                                                                      RETURN SETTLE AACH RTN - R03La Costa 27 LLC
                                                                      S622ORIGINAL ENTRYEFF DATE = 191112
                                                                      000026008814763546
                                                           11-21 'Wire Transfer-out                                                               43,481.24
                                                                      DEBTOR-IN-POSSESSIDEBTOR-IN-POSSESSION,
                                                                      000000000000000228
                                                           11-22 'Wire Transfer-out                                                                 5,672.19
101010101010101010101010
110000001110100000100011
100100110010110110111100
110100111010011110101101
101110101110110000100000
101111110010110011001111
101100111001000000000100
110101000000000101110111
                                                                      DEBTOR-IN-POSSESSIDEBTOR-IN-POSSESSION,
111000100111101011111110
110011000100011101101111
100110010000111011010000
111110110010101100000011
101001000010111110010010
110001001011001010001101
100101100111000101110100
100111001000110000010001
110010001010100111111010
110111110111000011010001
                                                                      000000000000000305
100011100101111011110100
110101110100101101000011
110110101000110100000110
101011011111110011111101
100001101000100010100010
111111111111111111111111




                              CREDITS
                                                           Date Description                                                                      Additions
                                                           11-01 'Preauthorized Credit                                                            1,217.98
                                                                      COSTAHPROPE826ASSN DUES191101
                                                                      000026008819268777
                                                           11-01 'Lock Box Deposit                                                                     857.38
                                                                      000000007009151940

                                                                                         Thank you for banking with Popular
                                                                                                                                     00001924 00006814 0001 0003 JOB113009 01
                                                                                              00001924 00006816 0002 0003 JOB113009 01
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                           COSTA HOLLYWOOD PROPERTY OWNER LLC                   Page 2 of 3
                           November 29, 2019                                    ██████
                                                                                6811829826


                            Date Description                                                              Additions
                            11-04 'Preauthorized Credit                                                   17,786.51
                                     COSTAHPROPE826ASSN DUES191104
                                     000026008817401456
                            11-05 'Preauthorized Credit                                                    19,376.58
                                     COSTAHPROPE826ASSN DUES191105
                                     000026008814621631
                            11-06 'Preauthorized Credit                                                         786.65
                                     PAYLEASE.COM CREDIT191106
                                     146398008
                                     000104000019585497
                            11-06 'Preauthorized Credit                                                      1,424.70
                                     PAYLEASE.COM CREDIT191106
                                     146591255
                                     000104000019598130
                            11-06 'Preauthorized Credit                                                    10,105.30
                                     COSTAHPROPE826ASSN DUES191106
                                     000026008810501915
                            11-07 'Preauthorized Credit                                                      2,116.50
                                     COSTAHPROPE826ASSN DUES191107
                                     000026008816818619
                            11-07 'Lock Box Deposit                                                          2,502.63
                                     000000007009589990
                            11-08 'Preauthorized Credit                                                      1,275.90
                                     PAYLEASE.COM CREDIT191108
                                     146901461
                                     000104000012422119
                            11-08 'Preauthorized Credit                                                    20,636.33
                                     COSTAHPROPE826ASSN DUES191108
                                     000026008812626594
                            11-12 'Preauthorized Credit                                                      5,058.00
                                     COSTAHPROPE826ASSN DUES191112
                                     000026008810460018
                            11-13 'Preauthorized Credit                                                    14,464.23
                                     COSTAHPROPE826ASSN DUES191113
                                     000026008817621068
                            11-14 'Preauthorized Credit                                                      2,514.44
                                     COSTAHPROPE826ASSN DUES191114
                                     000026008814635408
                            11-14 'Lock Box Deposit                                                             869.39
                                     000000007009796860
                            11-15 'Preauthorized Credit                                                      1,378.51
                                     PAYLEASE.COM CREDIT191115
                                     147253580
                                     000104000019583577
                            11-18 'Preauthorized Credit                                                      1,217.98
                                     COSTAHPROPE826ASSN DUES191118
                                     000026008818276330
                            11-19 'Lock Box Deposit                                                             898.16
                                     000000007010122900
                            11-20 'Preauthorized Credit                                                         510.71
101010101010101010101010
110000001110100000100011
100100110010110110111100
110100111010011110101101
101110101110110000100000
101111110010110011001111
101100111001000000000100
110101000000000101101111
                                     COSTAHPROPE826ASSN DUES191120
111000101011101011111110
110011000100011101110111
100110010000011011101000
111110110010110100001011
101001000001100111100100
110001001010000110001101
100101101101011101110100
100111001010000000011001
110010111100100101100010
110111110100000100001001
                                     000026008818999376
100010000000011101101100
110111100100100000110101
110111001111111101001010
100011010100110101111101
101101101010100010010010
111111111111111111111111
                            11-20 'Preauthorized Credit                                                         771.06
                                     PAYLEASE.COM CREDIT191120
                                     147404731
                                     000104000014060147
                            11-21 'Lock Box Deposit                                                             895.77
                                     000000007010195950
                            11-22 'Preauthorized Credit                                                      1,337.05
                                     COSTAHPROPE826ASSN DUES191122
                                     000026008810173293



                                                                                              00001924 00006816 0002 0003 JOB113009 01
                                                                                                         00001924 00006817 0003 0003 JOB113009 01
                                        Case 19-22483-AJC        Doc 195    Filed 12/23/19      Page 29 of 87




                                COSTA HOLLYWOOD PROPERTY OWNER LLC                         Page 3 of 3
                                November 29, 2019                                       ██████
                                                                                        6811829826


                                  Date Description                                                                   Additions
                                  11-26 'Preauthorized Credit                                                         7,806.00
                                            COSTAHPROPE826ASSN DUES191126
                                            000026008813836028
                                  11-26 'Lock Box Deposit                                                               2,963.10
                                            000000007010386390
                                  11-27 'Preauthorized Credit                                                              800.00
                                            COSTAHPROPE826ASSN DUES191127
                                            000026008811284235
                                  11-29 'Preauthorized Credit                                                              800.00
                                            PAYLEASE.COM CREDIT191129
                                            147753011
                                            000104000012570955
                                  11-29 'Interest Credit                                                                        0.54
                                            000000000000000000


                           DAILY BALANCES
                                Date             Amount          Date           Amount             Date                        Amount
                                10-31            2,166.28        11-12         83,309.34           11-20                      48,257.66
                                11-01            4,241.64        11-13         41,434.46           11-21                       5,672.19
                                11-04           22,028.15        11-14         43,481.24           11-22                       1,337.05
                                11-05           41,404.73        11-15         44,859.75           11-26                      12,106.15
                                11-06           53,721.38        11-18         46,077.73           11-27                      12,906.15
                                11-07           56,339.11        11-19         46,975.89           11-29                      13,706.69
                                11-08           78,251.34


                           OVERDRAFT/RETURN ITEM FEES

                                                                              Total for                     Total
                                                                             this period                 year-to-date
                                    Total Overdraft Fees                        $0.00                        $0.00

                                    Total Returned Item Fees                    $0.00                        $0.00




101010101010101010101010
110000001110100000100011
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110100111010011110101101
101110101110110000100000
101111110010110011001111
101100111001000000000100
110101000000000101110111
111000101101101011111010
110011000100011100111011
100110010000001011111100
111110110010000001111101
101001100011000100111110
110001001001100101001101
100101101100010101111100
100111001000000111100001
110010100001110111010110
110111101111000000110101
100010111001000110111000
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110111101001100010001110
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100001101000100010111010
111111111111111111111111




                                                                                                         00001924 00006817 0003 0003 JOB113009 01
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                                                     ATTACHMENT 4B

                       MONTHLY SUMMARY OF BANK ACTIVITY - WORKING CAPITAL ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          Banco Popular de Puerto Rico                      BRANCH:                 Miami Lakes, FL

                       Costa Hollywood Property Owner LLC Working
ACCOUNT NAME:                                                            ACCOUNT NUMBER: *9834
                       Capital

PURPOSE OF ACCOUNT:                  Working Capital


    Ending Balance Per Bank Statement                                                             $                  -
    Plus Total Amount of Outstanding Deposits                                                     $                  -
    Minus Total Amount of Outstanding Checks and other debits                                     $                  -       *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $                  -       **(a)

*Debit cards are used by __No Debit Cards_________________________________________________
                                                                                           ACCOUNT CLOSED
** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                   $                             -       Transferred to Banco Popular Operating Account *9826
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                     STANDARD BANK RECONCILIATION

                                     Month         November       Year             2019

           Account No. *9834                                         Account Name         Costa Hollywood Property Owner LLC Working Capital


Bank Balance shown on Bank Statement                          $          -                Your transaction register balance        $      -

Add (+)                                                                                   Add (+)
Deposits not shown on Bank Statement                          $          -                Other credits shown on the bank
                                                                                          statement but not in transaction register $     -
Total                                                         $          -
                                                                                          Add (+)
Subtract (-)                                                                              Interest paid on bank statement          $      -
Checks and other items outstanding but not
paid on Bank Statement                                                                    Total                                    $      -

Number     Amount        Number      Amount                                               Subtract (-)
           $                         $                                                    Other debits shown on bank statement
                                                                                          but not in transaction register

                                                                                          Number       Amount
                                                                                                       $




                                     Total Subtractions       $          -                             Total Subtractions          $      -

                                     Balance                  $          -                             Balance                     $      -
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                                              ATTACHMENT 5B

                                  CHECK REGISTER- WORKING CAPITAL

Name of Debtor: Costa Hollywood Property Owner, LLC             Case Number:        19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

                                     Banco Popular de
NAME OF BANK:                                                   BRANCH:             Miami Lakes, FL
                                     Puerto Rico

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC Working Capital

ACCOUNT NUMBER:                      *9834

PURPOSE OF ACCOUNT:                  Working Capital

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer
generated check register can be attached to this report, provided all the information requested below is
included.

                       Check
     Date                                 Payee                 Purpose                        Amount
                      Number




TOTAL                                                                                $                      -




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                                                     ATTACHMENT 4C

                       MONTHLY SUMMARY OF BANK ACTIVITY - SECURITY DEPOSIT ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          Banco Popular de Puerto Rico                      BRANCH:                 Miami Lakes, FL

                       Costa Hollywood Property Owner LLC Security
ACCOUNT NAME:                                                            ACCOUNT NUMBER: *7104
                       Deposit

PURPOSE OF ACCOUNT:                  Security Deposit


    Ending Balance Per Bank Statement                                                             $                  -
    Plus Total Amount of Outstanding Deposits                                                     $                  -
    Minus Total Amount of Outstanding Checks and other debits                                     $                  -       *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $                  -       **(a)

*Debit cards are used by __No Debit Cards_________________________________________________
                                                                                          ACCOUNT CLOSED

** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                   $                             -       Transferred to Payroll Account
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                     STANDARD BANK RECONCILIATION

                                     Month         November       Year             2019

           Account No. *7104                                         Account Name         Costa Hollywood Property Owner LLC Security Deposit


Bank Balance shown on Bank Statement                          $          -                Your transaction register balance        $       -

Add (+)                                                                                   Add (+)
Deposits not shown on Bank Statement                          $          -                Other credits shown on the bank
                                                                                          statement but not in transaction register $      -
Total                                                         $          -
                                                                                          Add (+)
Subtract (-)                                                                              Interest paid on bank statement          $       -
Checks and other items outstanding but not
paid on Bank Statement                                                                    Total                                    $       -

Number     Amount        Number      Amount                                               Subtract (-)
           $                         $                                                    Other debits shown on bank statement
                                                                                          but not in transaction register

                                                                                          Number       Amount
                                                                                                       $




                                     Total Subtractions       $          -                             Total Subtractions          $       -

                                     Balance                  $          -                             Balance                     $       -
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                                              ATTACHMENT 5C

                                  CHECK REGISTER- SECURITY DEPOSIT

Name of Debtor: Costa Hollywood Property Owner, LLC             Case Number:        19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

                                     Banco Popular de
NAME OF BANK:                                                   BRANCH:             Miami Lakes, FL
                                     Puerto Rico

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC Security Deposit

ACCOUNT NUMBER:                      *7104

PURPOSE OF ACCOUNT:                  Security Deposit

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer
generated check register can be attached to this report, provided all the information requested below is
included.

                       Check
     Date                                 Payee                 Purpose                        Amount
                      Number




TOTAL                                                                                $                      -




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                                                       ATTACHMENT 4D

                              MONTHLY SUMMARY OF BANK ACTIVITY - POB ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                    Case Number:              19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          City National Bank of Florida                      BRANCH:                   Miami, FL


ACCOUNT NAME:          Costa Hollywood Property Owner POB Account         ACCOUNT NUMBER: *3357


PURPOSE OF ACCOUNT:                      Operating


    Ending Balance Per Bank Statement                                                               $                -
    Plus Total Amount of Outstanding Deposits
    Minus Total Amount of Outstanding Checks and other debits                                       $                -       *
    Minus Service Charges                                                                           $                -
    Ending Balance Per Check Register                                                               $                -       **(a)

*Debit cards are used by ___________________________________________________ ACCOUNT                            CLOSED
** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date                Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                   $                              -        Transferred to Operating Account -0256
                   $                              -        Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                    STANDARD BANK RECONCILIATION

                                     Month         November       Year            2019

          Account No. *3357                                          Account Name          Costa Hollywood Property Owner LLC POB Account


Bank Balance shown on Bank Statement                          $          -               Your transaction register balance        $    -

Add (+)                                                                                  Add (+)
Deposits not shown on Bank Statement                          $          -               Other credits shown on the bank
                                                                                         statement but not in transaction register $   -
Total                                                         $          -
                                                                                         Add (+)
Subtract (-)                                                                             Interest paid on bank statement          $    -
Checks and other items outstanding but not
paid on Bank Statement                                                                   Total                                    $    -

Number    Amount        Number       Amount                                              Subtract (-)
          $                          $                                                   Other debits shown on bank statement
                                                                                         but not in transaction register

                                                                                         Number       Amount
                                                                                                      $




                                     Total Subtractions       $          -                            Total Subtractions          $    -

                                     Balance                  $          -                            Balance                     $    -
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                                           ATTACHMENT 5D

                                  CHECK REGISTER- POB Account

Name of Debtor: Costa Hollywood Property Owner, LLC                         Case Numb19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019


NAME OF BANK:                        City National Bank of Florida          BRANCH: Miami, FL


ACCOUNT NAME:                        Costa Hollywood Property Owner LLC POB Account

ACCOUNT NUMBER:                      *3357

PURPOSE OF ACCOUNT:                           Operating

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a
computer generated check register can be attached to this report, provided all the information
requested below is included.

                       Check
     Date                                       Payee                  Purpose              Amount
                      Number




TOTAL                                                                                   $            -




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                                                    ATTACHMENT 4E

                          MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          JPMorgan Chase Bank N.A.                          BRANCH:                 Colombus, OH

                       Costa Hollywood Property Owner DIP Operating
ACCOUNT NAME:                                                            ACCOUNT NUMBER: *0256
                       Account

PURPOSE OF ACCOUNT:                     Operating


    Ending Balance Per Bank Statement                                                             $          141,537.85
    Plus Total Amount of Outstanding Deposits                                                     $           63,390.27
    Minus Total Amount of Outstanding Checks and other debits                                     $           (4,857.54) *
    Minus Service Charges                                                                         $                 -
    Ending Balance Per Check Register                                                             $          200,070.58 **(a)

*Debit cards are used by ___________________________________________________

** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                   $                       19,412.51     Transferred to Owner Reserve Account
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




                                                           MOR-7
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                                                      STANDARD BANK RECONCILIATION

                                     Month         November       Year              2019

                                                                                           Costa Hollywood Property Owner LLC DIP Operating
           Account No. *0256                                         Account Name
                                                                                           Account



Bank Balance shown on Bank Statement                          $     141,537.85             Your transaction register balance        $    200,070.58

Add (+)                                                                                    Add (+)
Deposits not shown on Bank Statement                          $      63,390.27             Other credits shown on the bank
                                                                                           statement but not in transaction register $          -
Total                                                         $     204,928.12
                                                                                           Add (+)
Subtract (-)                                                                               Interest paid on bank statement          $           -
Checks and other items outstanding but not
paid on Bank Statement                                                                     Total                                    $    200,070.58

Number     Amount      Number        Amount                                                Subtract (-)
1734         $4,082.54                                                                     Other debits shown on bank statement
1760            775.00                                                                     but not in transaction register

                                                                                           Number       Amount
                                                                                                        $




                                     Total Subtractions       $          4,857.54                       Total Subtractions          $           -

                                     Balance                  $     200,070.58                          Balance                     $    200,070.58
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                                                                 ATTACHMENT 5E

                                                   CHECK REGISTER- OPERATING ACCOUNT

Name of Debtor: Costa Hollywood Property Owner, LLC                                  Case Number:                       19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

NAME OF BANK:                        JPMorgan Chase Bank N.A.                        BRANCH:                            Colombus, OH

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC DIP Operating Account

ACCOUNT NUMBER:                      *0256

PURPOSE OF ACCOUNT:                                Operating


Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can be
attached to this report, provided all the information requested below is included.


                      Check
     Date                                           Payee                                    Purpose                               Amount
                      Number
                                    See attached                                                                         $                (395,992.06)




TOTAL                                                                                                                    $              (395,992.06)




                                                                         MOR-8
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                                                    CHECK REGISTER‐ DIP OPERATING ACCOUNT

Name of Debtor:      Costa Hollywood Property Owner, LLC                   Case Number:                        19‐22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

NAME OF BANK:        JPMorgan Chase Bank N.A.                              BRANCH:                             Colombus, OH

ACCOUNT NAME: Costa Hollywood Property Owner LLC DIP Operating Account

ACCOUNT
                     *0256
NUMBER:
PURPOSE OF
                     Operating ‐ DIP
ACCOUNT:

Date                 Check Number        Payee                             Purpose                                        Amount
       10/31/2019                        Booking.com B.V.                                                                110.86
       10/31/2019                 1135   BRINKS Inc                                                                     (191.02)
       10/31/2019                        CIELO RESTAURANT LLC                                                          3,646.26
       10/31/2019                        GRAY ROBINSON - ATTORNEYS AT L                                                3,156.34
       10/31/2019                 1134   Office Depot                                                                   (351.49)
       10/31/2019                        TRACIA LLC                                                                      905.22
       10/31/2019                1133    TRAVELCLICK INC                                                                (800.00)
       11/04/2019                1742    BROWARD COUNTY BOARD OF COMMIS                                                 (100.00)
       11/05/2019                1744    Aimbridge Hospitality, LLC                                                  (20,528.16)
       11/05/2019                1746    BRIAN CHU                                                                       (78.84)
       11/05/2019                1745    CARLOS MOLINET - PETTY CASH                                                    (880.00)
       11/05/2019                1743    Evolution Hospitality, LLC                                                  (27,266.86)
       11/05/2019                1750    FEDEX                                                                            (9.94)
       11/05/2019                1747    HOTELIER LINEN SERVICES                                                      (3,450.90)
       11/05/2019                1749    Second Wave LLC                                                              (1,000.00)
       11/05/2019                1748    UNIQUE HOTEL SOLUTIONS                                                       (1,911.92)
       11/07/2019                1136    TRAVELCLICK INC                                                                (400.00)
       11/13/2019                1751    Aimbridge Hospitality, LLC                                                  (22,253.46)
       11/13/2019                1756    CYBBA INC                                                                      (578.09)
       11/13/2019                1752    Evolution Hospitality, LLC                                                  (11,062.65)
       11/13/2019                1757    FLORIDA DEPARTMENT OF FINANCIA                                                 (120.00)
       11/13/2019                1754    ROSENTHAL & ROSENTHAL, INC.                                                  (1,917.80)
       11/13/2019                1753    Sabre Hospitality Solutions                                                  (4,150.03)
       11/13/2019                1755    Second Wave LLC                                                              (1,000.00)
       11/14/2019                1139    AIR ESSCENTIALS                                                                (444.05)
       11/14/2019                1137    American Hotel Register Compan                                               (2,353.80)
       11/14/2019                1138    ECOLAB INC.                                                                  (1,196.31)
       11/15/2019             8696860    EVO PC 201911151               Payroll reimbursement PE111519               (52,233.25)
       11/20/2019                1758    Aimbridge Hospitality, LLC                                                  (47,235.75)
       11/20/2019                1764    Booking.com B.V.                                                             (3,151.07)
       11/20/2019                1761    CENTRADA SOLUTIONS, LLC                                                     (14,169.99)
       11/20/2019                1759    Evolution Hospitality, LLC                                                  (29,629.71)
       11/20/2019                1763    EXPEDIA INC.                                                                 (3,863.28)
       11/20/2019                1767    FEDEX                                                                          (109.00)
       11/20/2019                1766    FIVEPALS, INC                                                                  (650.00)
       11/20/2019                1765    HOTELIER LINEN SERVICES                                                      (3,074.33)
       11/20/2019                1760    OWNER RELATIONS TECHNOLOGY                                                     (775.00)
       11/20/2019                1762    Sabre Hospitality Solutions                                                  (4,395.06)
       11/21/2019                1140    AMADEUS HOSPITALITY AMERICAS,                                               (22,239.86)
       11/21/2019                1142    Cintas Coporation No. 2                                                        (806.36)
       11/21/2019                1141    YES HOTEL SERVICES, INC                                                     (10,176.00)
       11/29/2019             8718375    EVO PC 201911291               Payroll reimbursement PE112919               (53,244.67)
       11/30/2019                        American Express               Amex Fees                                       (143.73)
       11/30/2019             8723627    Bank Activity-1119             chargeback 11/29                                 (75.00)
       11/30/2019             8723627    Bank Activity-1119             chargeback 11/25                                (500.00)
       11/30/2019             8723627    Bank Activity-1119             chargeback 11/18                                (129.36)
       11/30/2019             8723627    Bank Activity-1119             chargeback 11/12                                (404.54)
       11/30/2019             8723627    Bank Activity-1119             chargeback 11/12                              (1,324.36)
       11/30/2019             8723627    Bank Activity-1119             chargeback 11/01                                (168.37)
       11/30/2019             8723627    Bank Activity-1119             chargeback 11/06                                (141.51)
       11/30/2019             8723627    Broward County                 Local occupancy tax pymt 1019                (17,000.36)
       11/30/2019             8726441    EVO PC 201911151               Payroll reimbursement PE111519                (4,437.73)
       11/30/2019             8726441    EVO PC 201911291               Payroll reimbursement PE112919                (4,459.82)
       11/30/2019             8723627    Florida Department of Revenue  State sales tax pymnt 1019                   (21,642.89)
       11/30/2019             8726079    Merchant Services              mc/vs fees 1119                                 (276.39)
       11/30/2019             8723627    Merchant Services              merchant serv fees 1119                         (191.67)
       11/30/2019             8723627    Merchant Services              mc/vs fees 1119                               (5,116.36)
             Total                                                                                                  (395,992.06)

                                                                                                                              -
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                                                                                                        November 01, 2019 through November 29, 2019
                                JPMorgan Chase Bank, N.A.
                                                                                                          Account Number:███████████
                                                                                                                           000000357720256
                                P O Box 182051
                                Columbus, OH 43218- 2051
                                                                                                       CUSTOMER SERVICE INFORMATION

                                                                                                       If you have any questions about your
                                                                                                       statement, please contact your
                                                                                                       Customer Service Professional.
                                00009650 DDA 201 212 33419 NNNNNNNNNNN 1 000000000 80 0000


                                COSTA HOLLYWOOD PROPERTY OWNER LLC
                                OPERATING ACCOUNT
                                DEBTOR IN POSSESSION
                                5851 LEGACY CIR STE 400
                                PLANO TX 75024-5979




                                                                                                                                                        00096500401000000024
  *start*summary




                                                                     Commercial Checking
              CHECKING SUMMARY
              Beginning Balance                                                                  $215,807.41
              Deposits and Additions                                             53               391,025.00
              Checks Paid                                                        34             - 244,790.58
              Electronic Withdrawals                                             37             - 219,804.98
              Other Withdrawals, Fees & Charges                                   1                 - 699.00
              Ending Balance                                                   125               $141,537.85
  *end*summary




*start*deposits and additions




           DEPOSITS AND ADDITIONS

            11/01                       Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191031                              $5,932.58
                                        CO Entry Descr:Deposit Sec:CCD Trace#:053000194664988 Eed:191101
                                        Ind ID:372853310889           Ind Name:Costa Hollywood
                                        C4 Trn: 3054664988Tc
            11/01                       Orig CO Name:American Express      Orig ID:1134992250 Desc Date:191101                               2,946.70
                                        CO Entry Descr:Settlementsec:CCD Trace#:091000014664986 Eed:191101
                                        Ind ID:5096434253            Ind Name:        5096434253
                                        Payment Date 19305 Trn: 3054664986Tc
            11/04                       Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191101                               8,577.45
                                        CO Entry Descr:Deposit Sec:CCD Trace#:053000191335275 Eed:191104
                                        Ind ID:372853310889           Ind Name:Costa Hollywood
                                        C4 Trn: 3081335275Tc
            11/04                       Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191102                               6,884.86
                                        CO Entry Descr:Deposit Sec:CCD Trace#:053000191335279 Eed:191104
                                        Ind ID:372853310889           Ind Name:Costa Hollywood
                                        C4 Trn: 3081335279Tc
            11/04                       Orig CO Name:American Express      Orig ID:1134992250 Desc Date:191104                               1,547.99
                                        CO Entry Descr:Settlementsec:CCD Trace#:091000011335277 Eed:191104
*end*deposits and additions




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*start*deposits and additions




                                                                (continued)
           DEPOSITS AND ADDITIONS

                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19308 Trn: 3081335277Tc
            11/06               Cash Svcs Cash Dep, Depdate= 11/04/2019, Bag= 00000000000056587227,                             1,717.45
                                ULID= , Vltid= 971
            11/06               Cash Svcs Cash Dep, Depdate= 11/03/2019, Bag= 00000000000056587326,                               253.12
                                ULID= , Vltid= 971
            11/06               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191105                        25,856.48
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000194421322 Eed:191106
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3104421322Tc
            11/07               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191106                          7,199.72
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000190135863 Eed:191107
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3110135863Tc
            11/07               Orig CO Name:American Express       Orig ID:1134992250 Desc Date:191107                         4,288.40
                                CO Entry Descr:Settlementsec:CCD Trace#:091000010135861 Eed:191107
                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19311 Trn: 3110135861Tc
            11/08               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191107                          4,306.26
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000193857815 Eed:191108
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3123857815Tc
            11/08               Orig CO Name:American Express       Orig ID:1134992250 Desc Date:191108                         1,700.77
                                CO Entry Descr:Settlementsec:CCD Trace#:091000013857813 Eed:191108
                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19312 Trn: 3123857813Tc
            11/12               Deposit                                                                                         1,970.85
            11/12               Cash Svcs Cash Dep, Depdate= 11/07/2019, Bag= 00000000000056587230,                               310.00
                                ULID= , Vltid= 971
            11/12               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191108                          9,118.26
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000190580592 Eed:191112
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3160580592Tc
            11/12               Orig CO Name:American Express       Orig ID:1134992250 Desc Date:191111                         9,072.30
                                CO Entry Descr:Settlementsec:CCD Trace#:091000010580594 Eed:191112
                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19315 Trn: 3160580594Tc
            11/12               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191109                          6,218.24
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000190580598 Eed:191112
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3160580598Tc
            11/12               Orig CO Name:American Express       Orig ID:1134992250 Desc Date:191109                         2,807.42
                                CO Entry Descr:Settlementsec:CCD Trace#:091000010580590 Eed:191112
                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19313 Trn: 3160580590Tc
            11/12               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191109                            141.51
                                CO Entry Descr:Chgbk Rev Sec:CCD Trace#:053000190580596 Eed:191112
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3160580596Tc
            11/13               Cash Svcs Db/CR Dep Adjust, Org Dep Amt= 314.42, Depdate= 11/09/2019,                             699.00
                                ULID= , Vltid= 971, Reason= Currency Over
            11/13               Cash Svcs Cash Dep, Depdate= 11/09/2019, Bag= 0000000000Ac78931644,                               314.42
                                ULID= , Vltid= 971
            11/13               Cash Svcs Cash Dep, Depdate= 11/11/2019, Bag= 0000000000Ac78931646,                                   75.00
                                ULID= , Vltid= 971
*end*deposits and additions




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*start*deposits and additions




                                                                (continued)
           DEPOSITS AND ADDITIONS

            11/13               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191112                        31,445.95
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000192547923 Eed:191113
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3172547923Tc
            11/14               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191113                        25,167.64




                                                                                                                                           10096500402000000064
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000197176715 Eed:191114
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3187176715Tc
            11/14               Orig CO Name:American Express      Orig ID:1134992250 Desc Date:191114                        15,797.75
                                CO Entry Descr:Settlementsec:CCD Trace#:091000017176717 Eed:191114
                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19318 Trn: 3187176717Tc
            11/15               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191114                          7,940.07
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000190451622 Eed:191115
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3190451622Tc
            11/15               Orig CO Name:American Express      Orig ID:1134992250 Desc Date:191115                            999.40
                                CO Entry Descr:Settlementsec:CCD Trace#:091000010451620 Eed:191115
                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19319 Trn: 3190451620Tc
            11/18               Cash Svcs Cash Dep, Depdate= 11/08/2019, Bag= 0000000000Ac78931645,                             1,013.62
                                ULID= , Vltid= 971
            11/18               Cash Svcs Cash Dep, Depdate= 11/13/2019, Bag= 00000000000056587235,                               336.74
                                ULID= , Vltid= 971
            11/18               Cash Svcs Cash Dep, Depdate= 11/14/2019, Bag= 00000000000056587236,                               196.62
                                ULID= , Vltid= 971
            11/18               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191115                          9,329.53
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000193751586 Eed:191118
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3223751586Tc
            11/18               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191116                          7,151.21
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000193751590 Eed:191118
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3223751590Tc
            11/18               Orig CO Name:American Express      Orig ID:1134992250 Desc Date:191118                          3,407.17
                                CO Entry Descr:Settlementsec:CCD Trace#:091000013751588 Eed:191118
                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19322 Trn: 3223751588Tc
            11/18               Orig CO Name:American Express      Orig ID:1134992250 Desc Date:191116                          2,455.52
                                CO Entry Descr:Settlementsec:CCD Trace#:091000013751582 Eed:191118
                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19320 Trn: 3223751582Tc
            11/18               Orig CO Name:Jan Doets Budget      Orig ID:Aw81446921 Desc Date:191118                            627.20
                                CO Entry Descr:Payment Sec:CCD Trace#:122238423751584 Eed:191118
                                Ind ID:                Ind Name:Costah
                                596071030 Trn: 3223751584Tc
            11/20               Cash Svcs Cash Dep, Depdate= 11/18/2019, Bag= 00000000000000007237,                               695.51
                                ULID= , Vltid= 971
            11/20               Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191119                        40,741.92
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000194242837 Eed:191120
                                Ind ID:372853310889           Ind Name:Costa Hollywood
                                C4 Trn: 3244242837Tc
            11/21               Orig CO Name:American Express      Orig ID:1134992250 Desc Date:191121                        19,782.40
                                CO Entry Descr:Settlementsec:CCD Trace#:091000017163916 Eed:191121
                                Ind ID:5096434253            Ind Name:        5096434253
                                Payment Date 19325 Trn: 3257163916Tc
*end*deposits and additions




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*start*deposits and additions




                                                                (continued)
           DEPOSITS AND ADDITIONS

            11/21               Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191120                      12,007.58
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000197163918 Eed:191121
                                Ind ID:372853310889            Ind Name:Costa Hollywood
                                C4 Trn: 3257163918Tc
            11/22               Chips Credit Via: Deutsche Bank Ag/0378 B/O: Tui Nederland N.V.                                1,796.70
                                Netherlands-Nl Ref: Nbnf=Costa Hollywood Property Owner LLC Plano TX
                                75024-5979 US/Ac-0000 00003577 Org=/0265088119 Netherland S-Nl
                                Ogb=Deutsche Bank Ag Amsterdam Amsterdam Netherlands Obi=Cf 45555 544
                                36279Ddm818 Bbi=/Chgs/USD0,/Chg S/USD0,/Ocmt/U Ssn: 0095501 Trn:
                                2099500326Fc
            11/22               Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191121                        9,770.30
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000190501736 Eed:191122
                                Ind ID:372853310889            Ind Name:Costa Hollywood
                                C4 Trn: 3260501736Tc
            11/22               Orig CO Name:American Express       Orig ID:1134992250 Desc Date:191122                        2,462.47
                                CO Entry Descr:Settlementsec:CCD Trace#:091000010501734 Eed:191122
                                Ind ID:5096434253             Ind Name:        5096434253
                                Payment Date 19326 Trn: 3260501734Tc
            11/25               Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191123                      18,023.55
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000192703668 Eed:191125
                                Ind ID:372853310889            Ind Name:Costa Hollywood
                                C4 Trn: 3292703668Tc
            11/25               Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191122                        6,422.19
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000192703664 Eed:191125
                                Ind ID:372853310889            Ind Name:Costa Hollywood
                                C4 Trn: 3292703664Tc
            11/25               Orig CO Name:American Express       Orig ID:1134992250 Desc Date:191125                        5,745.51
                                CO Entry Descr:Settlementsec:CCD Trace#:091000012703666 Eed:191125
                                Ind ID:5096434253             Ind Name:        5096434253
                                Payment Date 19329 Trn: 3292703666Tc
            11/25               Orig CO Name:American Express       Orig ID:1134992250 Desc Date:191123                        2,008.42
                                CO Entry Descr:Settlementsec:CCD Trace#:091000012703660 Eed:191125
                                Ind ID:5096434253             Ind Name:        5096434253
                                Payment Date 19327 Trn: 3292703660Tc
            11/25               Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191122                          129.36
                                CO Entry Descr:Chgbk Rev Sec:CCD Trace#:053000192703662 Eed:191125
                                Ind ID:372853310889            Ind Name:Costa Hollywood
                                C4 Trn: 3292703662Tc
            11/27               Deposit                                                                                      13,048.44
            11/27               Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191126                      33,467.96
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000192025273 Eed:191127
                                Ind ID:372853310889            Ind Name:Costa Hollywood
                                C4 Trn: 3312025273Tc
            11/29               Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191127                      10,520.87
                                CO Entry Descr:Deposit Sec:CCD Trace#:053000192837032 Eed:191129
                                Ind ID:372853310889            Ind Name:Costa Hollywood
                                C4 Trn: 3332837032Tc
            11/29               Orig CO Name:American Express       Orig ID:1134992250 Desc Date:191128                        5,720.03
                                CO Entry Descr:Settlementsec:CCD Trace#:091000012837030 Eed:191129
                                Ind ID:5096434253             Ind Name:        5096434253
                                Payment Date 19332 Trn: 3332837030Tc
            11/29               Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191128                          500.00
                                CO Entry Descr:Chgbk Rev Sec:CCD Trace#:053000192837034 Eed:191129
                                Ind ID:372853310889            Ind Name:Costa Hollywood
                                C4 Trn: 3332837034Tc
            11/29                                                                                                                374.59
*end*deposits and additions




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 *start*deposits and additions




                                                                        (continued)
             DEPOSITS AND ADDITIONS

                                       Orig CO Name:American Express      Orig ID:1134992250 Desc Date:191129
                                       CO Entry Descr:Settlementsec:CCD Trace#:091000012837036 Eed:191129
                                       Ind ID:5096434253            Ind Name:       5096434253
                                       Payment Date 19333 Trn: 3332837036Tc
             Total Deposits and Additions                                                                                           $391,025.00




                                                                                                                                                        10096500403000000064
 *end*deposits and additions


*start*checks paid section1




             CHECKS PAID

            1729                                11/04                  $1,384.81        1750                11/12                               9.94
            1732 *                              11/22                     249.35        1751                11/19                      22,253.46
            1735 *                              11/06                  24,066.22        1752                11/19                      11,062.65
            1736                                11/06                   7,981.40        1753                11/18                        4,150.03
            1737                                11/04                   5,796.71        1754                11/18                        1,917.80
            1738                                11/04                   1,932.44        1755                11/18                        1,000.00
            1739                                11/06                     650.00        1756                11/20                          578.09
            1740                                11/07                     102.99        1757                11/19                          120.00
            1741                                11/07                      39.82        1758                11/25                      47,235.75
            1742                                11/14                     100.00        1759                11/25                      29,629.71
            1743                                11/06                  27,266.86        1761 *              11/22                      14,169.99
            1744                                11/06                  20,528.16        1762                11/25                        4,395.06
            1745                                11/12                     880.00        1763                11/22                        3,863.28
            1746                                11/12                      78.84        1764                11/25                        3,151.07
            1747                                11/12                   3,450.90        1765                11/25                        3,074.33
            1748                                11/12                   1,911.92        1766                11/25                          650.00
            1749                                11/06                   1,000.00        1767                11/25                          109.00
                                                                                               Total Checks Paid                    $244,790.58
*end*checks paid section1



 *start*post checks paid message




          * Checks may not appear on your bank statement because they have not yet cleared or appeared on a previous
          statement. Checks that cleared as an electronic withdrawal will be listed in the Electronic Withdrawals section of the
          statement. All checks included in the Checks Paid section are viewable as images on Chase.com.
 *end*post checks paid message


      *start*electronic withdrawal




              ELECTRONIC WITHDRAWALS

                  11/01              Fedwire Debit Via: Regions/062000019 A/C: Comdata Network Inc US Ref: CR938                        $1,342.51
                                     Imad: 1101B1Qgc03C021633 Trn: 4786100305Jo
                  11/01              Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191031 CO                                 168.37
                                     Entry Descr:Chargebacksec:CCD Trace#:053000195517254 Eed:191101 Ind
                                     ID:372853310889             Ind Name:Costa Hollywood
                                     C4 Trn: 3055517254Tc
                  11/04              Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191102 CO                           5,053.41
                                     Entry Descr:Interchng Sec:CCD Trace#:053000192619305 Eed:191104 Ind
                                     ID:372853310889             Ind Name:Costa Hollywood
                                     C4 Trn: 3082619305Tc
                  11/04              Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191102 CO                                 276.39
                                     Entry Descr:Fee     Sec:CCD Trace#:053000192619309 Eed:191104 Ind
                                     ID:372853310889             Ind Name:Costa Hollywood
                                     C4 Trn: 3082619309Tc
      *end*electronic withdrawal




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*start*electronic withdrawal




                                                                     (continued)
        ELECTRONIC WITHDRAWALS

            11/04              Orig CO Name:Merchant Service       Orig ID:1841010148 Desc Date:191031 CO                               191.67
                               Entry Descr:Merch Fee Sec:CCD Trace#:042000012619303 Eed:191104 Ind
                               ID:8080396768              Ind Name:Costa Hollywood
                               Merchant Activity Trn: 3082619303Tc
            11/04              Orig CO Name:American Express        Orig ID:1134992250 Desc Date:191102 CO                               87.30
                               Entry Descr:Collectionsec:CCD Trace#:091000012619301 Eed:191104 Ind
                               ID:5096434253              Ind Name:        5096434253
                               Payment Date 19306 Trn: 3082619301Tc
            11/04              Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191102 CO                                62.95
                               Entry Descr:Discount Sec:CCD Trace#:053000192619307 Eed:191104 Ind
                               ID:372853310889             Ind Name:Costa Hollywood
                               C4 Trn: 3082619307Tc
            11/06              Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191105 CO                               141.51
                               Entry Descr:Chargebacksec:CCD Trace#:053000195060814 Eed:191106 Ind
                               ID:372853310889             Ind Name:Costa Hollywood
                               C4 Trn: 3105060814Tc
            11/08              Fedwire Debit Via: Regions/062000019 A/C: Comdata Network Inc US Ref: CR938                              400.00
                               Imad: 1108B1Qgc01C010710 Trn: 2390500312Jo
            11/12              Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191109 CO                         1,324.36
                               Entry Descr:Chargebacksec:CCD Trace#:053000192131878 Eed:191112 Ind
                               ID:372853310889             Ind Name:Costa Hollywood
                               C4 Trn: 3162131878Tc
            11/12              Orig CO Name:Bofa Merch Svcs        Orig ID:941687665B Desc Date:191108 CO                               404.54
                               Entry Descr:Chargebacksec:CCD Trace#:053000192131876 Eed:191112 Ind
                               ID:372853310889             Ind Name:Costa Hollywood
                               C4 Trn: 3162131876Tc
            11/13              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191112 CO                         37,900.29
                               Entry Descr:Collectionsec:CCD Trace#:021000023296736 Eed:191113 Ind ID:
                               Ind Name:Costa Hollywood Resort Hddaamt Trn: 3173296736Tc
            11/13              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191112 CO                          8,067.70
                               Entry Descr:Collectionsec:CCD Trace#:021000023296746 Eed:191113 Ind ID:
                               Ind Name:Costa Hollywood Resort Heetax Trn: 3173296746Tc
            11/13              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191112 CO                          3,977.53
                               Entry Descr:Collectionsec:CCD Trace#:021000023296748 Eed:191113 Ind ID:
                               Ind Name:Costa Hollywood Resort Hertax Trn: 3173296748Tc
            11/13              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191112 CO                          3,791.55
                               Entry Descr:Collectionsec:CCD Trace#:021000023296734 Eed:191113 Ind ID:
                               Ind Name:Costa Hollywood Resort Hchkamt Trn: 3173296734Tc
            11/13              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191112 CO                          1,516.61
                               Entry Descr:Collectionsec:CCD Trace#:021000023296744 Eed:191113 Ind ID:
                               Ind Name:Costa Hollywood Resort Hdefeepretax Trn: 3173296744Tc
            11/13              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191112 CO                                685.59
                               Entry Descr:Collectionsec:CCD Trace#:021000023296738 Eed:191113 Ind ID:
                               Ind Name:Costa Hollywood Resort Hddefermatch Trn: 3173296738Tc
            11/13              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191112 CO                                300.00
                               Entry Descr:Collectionsec:CCD Trace#:021000023296750 Eed:191113 Ind ID:
                               Ind Name:Costa Hollywood Resort Hgarn Trn: 3173296750Tc
            11/13              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191112 CO                                232.04
                               Entry Descr:Collectionsec:CCD Trace#:021000023296740 Eed:191113 Ind ID:
                               Ind Name:Costa Hollywood Resort Hdefeeloan Trn: 3173296740Tc
            11/13              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191112 CO                                199.67
                               Entry Descr:Collectionsec:CCD Trace#:021000023296742 Eed:191113 Ind ID:
                               Ind Name:Costa Hollywood Resort Hdefeeposttax Trn: 3173296742Tc
            11/15              Fedwire Debit Via: Regions/062000019 A/C: Comdata Network Inc US Ref: CR938                        3,994.16
                               Imad: 1115B1Qgc06C006810 Trn: 3395200319Jo
*end*electronic withdrawal




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                                                                                                Account Number:███████████
                                                                                                                 000000357720256



*start*electronic withdrawal




                                                                     (continued)
        ELECTRONIC WITHDRAWALS

            11/18              Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191115 CO                                129.36
                               Entry Descr:Chargebacksec:CCD Trace#:053000194931707 Eed:191118 Ind
                               ID:372853310889             Ind Name:Costa Hollywood
                               C4 Trn: 3224931707Tc
            11/20              Orig CO Name:Fla Dept Revenue       Orig ID:7596001874 Desc Date:    CO                           21,642.89




                                                                                                                                                 10096500404000000064
                               Entry Descr:C01      Sec:CCD Trace#:111000024910327 Eed:191120 Ind
                               ID:92884871              Ind Name:Costa Hollywood Trn: 3244910327Tc
            11/21              Orig CO Name:Broward County        Orig ID:7596000531 Desc Date:    CO                            17,000.36
                               Entry Descr:Tax Coll. Sec:Web Trace#:091000017807330 Eed:191121 Ind
                               ID:12648786              Ind Name:Costa Hollywood Resort Trn: 3257807330Tc
            11/22              Fedwire Debit Via: Regions/062000019 A/C: Comdata Network Inc US Ref: CR938                       33,222.22
                               Imad: 1122B1Qgc08C009883 Trn: 3895600326Jo
            11/25              Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191122 CO                                500.00
                               Entry Descr:Chargebacksec:CCD Trace#:053000193847434 Eed:191125 Ind
                               ID:372853310889             Ind Name:Costa Hollywood
                               C4 Trn: 3293847434Tc
            11/26              JPMorgan Access Transfer To Account000000357720827                                                19,412.51
            11/26              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191125 CO                         41,002.39
                               Entry Descr:Collectionsec:CCD Trace#:021000024322966 Eed:191126 Ind ID:
                               Ind Name:Costa Hollywood Resort Hddaamt Trn: 3304322966Tc
            11/26              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191125 CO                          8,367.69
                               Entry Descr:Collectionsec:CCD Trace#:021000024322976 Eed:191126 Ind ID:
                               Ind Name:Costa Hollywood Resort Heetax Trn: 3304322976Tc
            11/26              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191125 CO                          4,065.22
                               Entry Descr:Collectionsec:CCD Trace#:021000024322978 Eed:191126 Ind ID:
                               Ind Name:Costa Hollywood Resort Hertax Trn: 3304322978Tc
            11/26              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191125 CO                          1,592.36
                               Entry Descr:Collectionsec:CCD Trace#:021000024322974 Eed:191126 Ind ID:
                               Ind Name:Costa Hollywood Resort Hdefeepretax Trn: 3304322974Tc
            11/26              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191125 CO                          1,253.10
                               Entry Descr:Collectionsec:CCD Trace#:021000024322964 Eed:191126 Ind ID:
                               Ind Name:Costa Hollywood Resort Hchkamt Trn: 3304322964Tc
            11/26              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191125 CO                                707.84
                               Entry Descr:Collectionsec:CCD Trace#:021000024322968 Eed:191126 Ind ID:
                               Ind Name:Costa Hollywood Resort Hddefermatch Trn: 3304322968Tc
            11/26              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191125 CO                                300.00
                               Entry Descr:Collectionsec:CCD Trace#:021000024322980 Eed:191126 Ind ID:
                               Ind Name:Costa Hollywood Resort Hgarn Trn: 3304322980Tc
            11/26              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191125 CO                                232.04
                               Entry Descr:Collectionsec:CCD Trace#:021000024322970 Eed:191126 Ind ID:
                               Ind Name:Costa Hollywood Resort Hdefeeloan Trn: 3304322970Tc
            11/26              Orig CO Name:Aimbridge Hospit      Orig ID:9990001756 Desc Date:191125 CO                                183.85
                               Entry Descr:Collectionsec:CCD Trace#:021000024322972 Eed:191126 Ind ID:
                               Ind Name:Costa Hollywood Resort Hdefeeposttax Trn: 3304322972Tc
            11/29              Orig CO Name:Bofa Merch Svcs       Orig ID:941687665B Desc Date:191128 CO                                 75.00
                               Entry Descr:Chargebacksec:CCD Trace#:053000194011486 Eed:191129 Ind
                               ID:372853310889             Ind Name:Costa Hollywood
                               C4 Trn: 3334011486Tc
            Total Electronic Withdrawals                                                                                     $219,804.98
*end*electronic withdrawal




                                                                                                                          Page 7 of 8
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                                                                                                                     November 01, 2019 through November 29, 2019
                                                                                                                        Account Number:███████████
                                                                                                                                       000000357720256



  *start*other withdrawal fees charges




          OTHER WITHDRAWALS, FEES & CHARGES

              11/18                                   Cash Svcs Db/CR Dep Adjust, Org Dep Amt= 1,013.62, Depdate= 11/08/2019,                             $699.00
                                                      ULID= , Vltid= 971, Reason= Currency Short
              Total Other Withdrawals, Fees & Charges                                                                                                     $699.00
  *end*other withdrawal fees charges




*start*post overdraft and returned item message2




         Your service charges, fees and earnings credit have been calculated through account analysis.
*end*post overdraft and returned item message2




    *start*daily ending balance1




                   DAILY ENDING BALANCE

                11/01                                                      $223,175.81                               11/18                            248,419.26
                11/04                                                       225,400.43                               11/19                            214,983.15
                11/06                                                       171,593.33                               11/20                            234,199.60
                11/07                                                       182,938.64                               11/21                            248,989.22
                11/08                                                       188,545.67                               11/22                            211,513.85
                11/12                                                       210,123.75                               11/25                            155,097.96
                11/13                                                       185,987.14                               11/26                              77,980.96
                11/14                                                       226,852.53                               11/27                            124,497.36
                11/15                                                       231,797.84                               11/29                            141,537.85
    *end*daily ending balance1




        *start*dda portrait disclosure message area




        IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
        address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
        incorrect or if you need more information about a transfer listed on the statement or receipt.
        For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or
        error appeared. Be prepared to give us the following information:
               • Your name and account number
               • The dollar amount of the suspected error
               • A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
        We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
        accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it
        takes us to complete our investigation.

        IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
        incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error
        appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details,
        see the Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are
        offered by JPMorgan Chase Bank, N.A. Member FDIC


*end*dda portrait disclosure message area
                                                                                                                       JPMorgan Chase Bank, N.A. Member FDIC




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                                                   ATTACHMENT 4F

                             MONTHLY SUMMARY OF BANK ACTIVITY - FFE ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.


NAME OF BANK:          JPMorgan Chase Bank N.A.                          BRANCH:                 Colombus, OH

ACCOUNT NAME:          Costa Hollywood Property Owner FFE Account        ACCOUNT NUMBER: *0652

PURPOSE OF ACCOUNT:                  Capital Expense


    Ending Balance Per Bank Statement                                                             $                  -
    Plus Total Amount of Outstanding Deposits
    Minus Total Amount of Outstanding Checks and other debits                                                                *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $                  -       **(a)

*Debit cards are used by ___________________________________________________

** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                   $                       66,899.93     Transferred to Chase DIP Operating Account -0256
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                      STANDARD BANK RECONCILIATION

                                     Month         November       Year              2019

           Account No. *0652                                         Account Name          Costa Hollywood Property Owner LLC FFE Account


Bank Balance shown on Bank Statement                          $           -                Your transaction register balance        $       -

Add (+)                                                                                    Add (+)
Deposits not shown on Bank Statement                          $                            Other credits shown on the bank
                                                                                           statement but not in transaction register $      -
Total                                                         $           -
                                                                                           Add (+)
Subtract (-)                                                                               Interest paid on bank statement          $       -
Checks and other items outstanding but not
paid on Bank Statement                                                                     Total                                    $       -

Number     Amount       Number       Amount                                                Subtract (-)
                                     $                                                     Other debits shown on bank statement
                                                                                           but not in transaction register

                                                                                           Number       Amount
                                                                                                        $




                                     Total Subtractions       $           -                             Total Subtractions          $       -

                                     Balance                  $           -                             Balance                     $       -
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                                                  ATTACHMENT 5F

                                         CHECK REGISTER- FFE ACCOUNT

Name of Debtor: Costa Hollywood Property Owner, LLC                    Case Number:               19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

NAME OF BANK:                        JPMorgan Chase Bank N.A.          BRANCH:                    Colombus, OH

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC FFE Account

ACCOUNT NUMBER:                      *0652

PURPOSE OF ACCOUNT:                      Capital Expense

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer
generated check register can be attached to this report, provided all the information requested below is included.


                      Check
     Date                                     Payee                        Purpose                       Amount
                      Number




TOTAL                                                                                             $                  -




                                                           MOR-8
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                                                                                                                     November 01, 2019 through November 29, 2019
                                                      JPMorgan Chase Bank, N.A.
                                                                                                                       Account Number:███████████
                                                                                                                                        000000357720652
                                                      P O Box 182051
                                                      Columbus, OH 43218- 2051
                                                                                                                    CUSTOMER SERVICE INFORMATION

                                                                                                                    If you have any questions about your
                                                                                                                    statement, please contact your
                                                                                                                    Customer Service Professional.
                                              00002232 DDA 201 212 33419 NNNNNNNNNNN 1 000000000 61 0000


                                              COSTA HOLLYWOOD PROPERTY OWNER LLC
                                              FFE ACCOUNT
                                              DEBTOR IN POSSESSION
                                              5851 LEGACY CIR STE 400
                                              PLANO TX 75024-5979




                                                                                                                                                                   00022320101000000021
*start*summary




                                                                                   Commercial Checking
           CHECKING SUMMARY
            Beginning Balance                                                                                       $0.00
            Ending Balance                                                                      0                   $0.00
*end*summary




 *start*post overdraft and returned item message2




         Your service charges, fees and earnings credit have been calculated through account analysis.
 *end*post overdraft and returned item message2




        *start*dda portrait disclosure message area




        IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
        address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
        incorrect or if you need more information about a transfer listed on the statement or receipt.
        For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or
        error appeared. Be prepared to give us the following information:
               • Your name and account number
               • The dollar amount of the suspected error
               • A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
        We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
        accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it
        takes us to complete our investigation.

        IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
        incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error
        appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details,
        see the Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are
        offered by JPMorgan Chase Bank, N.A. Member FDIC


*end*dda portrait disclosure message area
                                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC




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                                                     ATTACHMENT 4G

                          MONTHLY SUMMARY OF BANK ACTIVITY - MANAGER ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          JPMorgan Chase Bank N.A.                          BRANCH:                 Colombus, OH

                       Costa Hollywood Property Owner Manager
ACCOUNT NAME:                                                            ACCOUNT NUMBER: *0538
                       Account

PURPOSE OF ACCOUNT:                  Operating


    Ending Balance Per Bank Statement                                                             $                  -
    Plus Total Amount of Outstanding Deposits
    Minus Total Amount of Outstanding Checks and other debits                                                                *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $                  -       **(a)

*Debit cards are used by ___________________________________________________ACCOUNT                          CLOSED
** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                   $                             -       Transferred to Payroll Account
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                      STANDARD BANK RECONCILIATION

                                     Month         November       Year              2019


           Account No. *0538                                         Account Name          Costa Hollywood Property Owner LLC Manager Account



Bank Balance shown on Bank Statement                          $           -                Your transaction register balance        $     -

Add (+)                                                                                    Add (+)
Deposits not shown on Bank Statement                          $                            Other credits shown on the bank
                                                                                           statement but not in transaction register $    -
Total                                                         $           -
                                                                                           Add (+)
Subtract (-)                                                                               Interest paid on bank statement          $     -
Checks and other items outstanding but not
paid on Bank Statement                                                                     Total                                    $     -

Number     Amount       Number       Amount                                                Subtract (-)
                                     $                                                     Other debits shown on bank statement
                                                                                           but not in transaction register

                                                                                           Number       Amount
                                                                                                        $




                                     Total Subtractions       $           -                             Total Subtractions          $     -

                                     Balance                  $           -                             Balance                     $     -
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                                              ATTACHMENT 5G

                                 CHECK REGISTER- MANAGER ACCOUNT

Name of Debtor: Costa Hollywood Property Owner, LLC             Case Number:        19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

NAME OF BANK:                        JPMorgan Chase Bank NBRANCH:                   Colombus, OH

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC Manager Account

ACCOUNT NUMBER:                      *0538

PURPOSE OF ACCOUNT:                     Operating

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer
generated check register can be attached to this report, provided all the information requested below is
included.

                       Check
     Date                                 Payee                 Purpose                        Amount
                      Number




TOTAL                                                                                $                      -




                                                     MOR-8
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                                                     ATTACHMENT 4H

                       MONTHLY SUMMARY OF BANK ACTIVITY - OWNER RESERVE ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          JPMorgan Chase Bank N.A.                          BRANCH:                 Colombus, OH

                       Costa Hollywood Property Owner, LLC Owner
ACCOUNT NAME:                                                            ACCOUNT NUMBER: *0827
                       Reserve Account

PURPOSE OF ACCOUNT:                  Operating


    Ending Balance Per Bank Statement                                                             $            33,433.38
    Plus Total Amount of Outstanding Deposits
    Minus Total Amount of Outstanding Checks and other debits                                                            *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $            33,433.38 **(a)

*Debit cards are used by ___________________________________________________

** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                                                         Transferred to Payroll Account
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                      STANDARD BANK RECONCILIATION

                                     Month         November       Year              2019

                                                                                           Costa Hollywood Property Owner LLC Owner Reserve
           Account No. *0827                                         Account Name
                                                                                           Account



Bank Balance shown on Bank Statement                          $      33,433.38             Your transaction register balance        $    33,433.38

Add (+)                                                                                    Add (+)
Deposits not shown on Bank Statement                          $                            Other credits shown on the bank
                                                                                           statement but not in transaction register $         -
Total                                                         $      33,433.38
                                                                                           Add (+)
Subtract (-)                                                                               Interest paid on bank statement          $          -
Checks and other items outstanding but not
paid on Bank Statement                                                                     Total                                    $    33,433.38

Number     Amount       Number       Amount                                                Subtract (-)
                                     $                                                     Other debits shown on bank statement
                                                                                           but not in transaction register

                                                                                           Number       Amount
                                                                                                        $




                                     Total Subtractions       $            -                            Total Subtractions          $          -

                                     Balance                  $      33,433.38                          Balance                     $    33,433.38
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                                              ATTACHMENT 5H

                             CHECK REGISTER- OWNER RESERVE ACCOUNT

Name of Debtor: Costa Hollywood Property Owner, LLC             Case Number:        19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

NAME OF BANK:                        JPMorgan Chase Bank NBRANCH:                   Colombus, OH

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC Owner Reserve Account

ACCOUNT NUMBER:                      *0827

PURPOSE OF ACCOUNT:                     Operating

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer
generated check register can be attached to this report, provided all the information requested below is
included.

                       Check
     Date                                 Payee                 Purpose                        Amount
                      Number




TOTAL                                                                                $                      -




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                                                                                                                           November 01, 2019 through November 29, 2019
                                                      JPMorgan Chase Bank, N.A.
                                                                                                                             Account Number:███████████
                                                                                                                                              000000357720827
                                                      P O Box 182051
                                                      Columbus, OH 43218- 2051
                                                                                                                          CUSTOMER SERVICE INFORMATION

                                                                                                                          If you have any questions about your
                                                                                                                          statement, please contact your
                                                                                                                          Customer Service Professional.
                                                00002233 DDA 201 212 33419 NNNNNNNNNNN 1 000000000 61 0000


                                                COSTA HOLLYWOOD PROPERTY OWNER LLC
                                                OWNER RESERVE
                                                DEBTOR IN POSSESSION
                                                5851 LEGACY CIR STE 400
                                                PLANO TX 75024-5979




                                                                                                                                                                          00022330101000000021
  *start*summary




                                                                                     Commercial Checking
              CHECKING SUMMARY
              Beginning Balance                                                                                      $14,020.87
              Deposits and Additions                                                              1                   19,412.51
              Ending Balance                                                                      1                  $33,433.38
  *end*summary




*start*deposits and additions




           DEPOSITS AND ADDITIONS

            11/26                                            JPMorgan Access Transfer From Account000000357720256                                            $19,412.51
            Total Deposits and Additions                                                                                                                     $19,412.51
*end*deposits and additions


   *start*post overdraft and returned item message2




            Your service charges, fees and earnings credit have been calculated through account analysis.
   *end*post overdraft and returned item message2




     *start*daily ending balance2




                   DAILY ENDING BALANCE

                 11/26                                                                                 $33,433.38
     *end*daily ending balance2




                                                                                                                                                      Page 1 of 2
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                                                     ATTACHMENT 4I

                       MONTHLY SUMMARY OF BANK ACTIVITY - SPECIAL ESCROW ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          Bank of America N.A.                              BRANCH:                 Wilmington, DE

                       Costa Hollywood Property Owner, LLC Special
ACCOUNT NAME:                                                            ACCOUNT NUMBER: *3162
                       Escrow Account

PURPOSE OF ACCOUNT:                  Escrow


    Ending Balance Per Bank Statement                                                             $            10,003.80
    Plus Total Amount of Outstanding Deposits
    Minus Total Amount of Outstanding Checks and other debits                                                            *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $            10,003.80 **(a)

*Debit cards are used by ___________________________________________________

** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                                                         Transferred to Payroll Account
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                      STANDARD BANK RECONCILIATION

                                     Month         November       Year              2019

                                                                                           Costa Hollywood Property Owner LLC
           Account No. *3162                                         Account Name
                                                                                           Special Escrow Account


Bank Balance shown on Bank Statement                          $      10,003.80             Your transaction register balance        $    10,003.80

Add (+)                                                                                    Add (+)
Deposits not shown on Bank Statement                          $                            Other credits shown on the bank
                                                                                           statement but not in transaction register $         -
Total                                                         $      10,003.80
                                                                                           Add (+)
Subtract (-)                                                                               Interest paid on bank statement          $          -
Checks and other items outstanding but not
paid on Bank Statement                                                                     Total                                    $    10,003.80

Number     Amount       Number       Amount                                                Subtract (-)
                                     $                                                     Other debits shown on bank statement
                                                                                           but not in transaction register

                                                                                           Number       Amount
                                                                                                        $




                                     Total Subtractions       $            -                            Total Subtractions          $          -

                                     Balance                  $      10,003.80                          Balance                     $    10,003.80
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                                              ATTACHMENT 5I

                            CHECK REGISTER- SPECIAL ESCROW ACCOUNT

Name of Debtor: Costa Hollywood Property Owner, LLC                   Case Number:        19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

NAME OF BANK:                        Bank of America N.A.             BRANCH:             Wilmington, DE

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC Owner Reserve Account

ACCOUNT NUMBER:                      *3162

PURPOSE OF ACCOUNT:                          Escrow

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer
generated check register can be attached to this report, provided all the information requested below is
included.

                       Check
     Date                                    Payee                    Purpose                    Amount
                      Number




TOTAL                                                                                      $               -




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                                                     ATTACHMENT 4J

                  MONTHLY SUMMARY OF BANK ACTIVITY - TEN PERCENT ESCROW ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          Bank of America N.A.                              BRANCH:                 Wilmington, DE

                       Costa Hollywood Property Owner, LLC Ten
ACCOUNT NAME:                                                            ACCOUNT NUMBER: *3167
                       Percent Escrow Account

PURPOSE OF ACCOUNT:                  Escrow


    Ending Balance Per Bank Statement                                                             $            10,953.55
    Plus Total Amount of Outstanding Deposits
    Minus Total Amount of Outstanding Checks and other debits                                                            *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $            10,953.55 **(a)

*Debit cards are used by ___________________________________________________

** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                                                         Transferred to Payroll Account
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                       STANDARD BANK RECONCILIATION

                                  Month        November        Year              2019

                                                                                        Costa Hollywood Property Owner LLC
          Account No. *3167                                       Account Name
                                                                                        Ten Percent Escrow Account


Bank Balance shown on Bank Statement                       $    10,953.55               Your transaction register balance        $    10,953.55

Add (+)                                                                                 Add (+)
Deposits not shown on Bank Statement                       $                            Other credits shown on the bank
                                                                                        statement but not in transaction register $         -
Total                                                      $    10,953.55
                                                                                        Add (+)
Subtract (-)                                                                            Interest paid on bank statement          $          -
Checks and other items outstanding but not
paid on Bank Statement                                                                  Total                                    $    10,953.55

Number    Amount       Number     Amount                                                Subtract (-)
                                  $                                                     Other debits shown on bank statement
                                                                                        but not in transaction register

                                                                                        Number       Amount
                                                                                                     $




                                  Total Subtractions       $          -                              Total Subtractions          $          -

                                  Balance                  $    10,953.55                            Balance                     $    10,953.55
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                                                ATTACHMENT 5J

                           CHECK REGISTER- TEN PERCENT ESCROW ACCOUNT

Name of Debtor: Costa Hollywood Property Owner, LLC                  Case Number:        19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

NAME OF BANK:                        Bank of America N.A.            BRANCH:             Wilmington, DE

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC Ten Percent Escrow Account

ACCOUNT NUMBER:                      *3167

PURPOSE OF ACCOUNT:                          Escrow


Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer
generated check register can be attached to this report, provided all the information requested below is included.

                      Check
     Date                                    Payee                    Purpose                      Amount
                      Number




TOTAL                                                                                     $                     -




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                                                     ATTACHMENT 4K

                       MONTHLY SUMMARY OF BANK ACTIVITY - DIP OPERATING ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          Marquis Bank                                      BRANCH:                 Aventura, FL

                       Costa Hollywood Property Owner, LLC DIP
ACCOUNT NAME:                                                            ACCOUNT NUMBER: *5257
                       Operating Account

PURPOSE OF ACCOUNT:                   Operating - DIP


    Ending Balance Per Bank Statement                                                             $            27,552.47
    Plus Total Amount of Outstanding Deposits                                                     $                  -
    Minus Total Amount of Outstanding Checks and other debits                                     $           (27,132.39) *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $               420.08 **(a)

*Debit cards are used by ___________________________________________________

** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount             Payee          Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                                                         Transferred to Payroll Account
                   $                             -       Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                      STANDARD BANK RECONCILIATION

                                 Month        November       Year               2019

                                                                                       Costa Hollywood Property Owner LLC
          Account No. *5257                                     Account Name
                                                                                       DIP Operating Account


Bank Balance shown on Bank Statement                     $          27,552.47          Your transaction register balance        $    420.08

Add (+)                                                                                Add (+)
Deposits not shown on Bank Statement                     $                -            Other credits shown on the bank
                                                                                       statement but not in transaction register $      -
Total                                                    $          27,552.47
                                                                                       Add (+)
Subtract (-)                                                                           Interest paid on bank statement          $       -
Checks and other items outstanding but not
paid on Bank Statement                                                                 Total                                    $    420.08

Number Amount     Number         Amount                                                Subtract (-)
     26 $5,289.91                                                                      Other debits shown on bank statement
   1015  1,140.66                                                                      but not in transaction register
   1022 13,119.27
   1024  3,255.00                                                                      Number       Amount
   1025  2,400.00                                                                                   $
   1030  1,216.42
   1029    384.78
   1023    326.35




                                 Total Subtractions      $          27,132.39                       Total Subtractions          $       -

                                 Balance                 $             420.08                       Balance                     $    420.08
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                                                ATTACHMENT 5K

                                CHECK REGISTER- DIP OPERATING ACCOUNT

Name of Debtor: Costa Hollywood Property Owner, LLC                  Case Number:        19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

NAME OF BANK:                        Marquis Bank                    BRANCH:             Aventura, FL

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC DIP Operating Account

ACCOUNT NUMBER:                      *5257

PURPOSE OF ACCOUNT:                     Operating - DIP


Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer
generated check register can be attached to this report, provided all the information requested below is included.

                      Check
     Date                                    Payee                    Purpose                      Amount
                      Number
                                     See Attached                                         $            (151,376.22)




TOTAL                                                                                     $            (151,376.22)




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                                                   CHECK REGISTER‐ DIP OPERATING ACCOUNT
Name of Debtor: Costa Hollywood Property Owner, LLC                            Case Number:                                      19‐22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019
NAME OF BANK: Marquis Bank                                                     BRANCH:                                           Aventura, FL
ACCOUNT NAME: Costa Hollywood Property Owner LLC DIP Operating Account

ACCOUNT
                     *5257
NUMBER:
PURPOSE OF
                     Operating ‐ DIP
ACCOUNT:

Date                 Check Number Payee                                        Purpose                                                      Amount
       11/01/2019                      TECO                                    Utilities:Gas & Diesel                                     (180.61)
       11/01/2019                      TECO                                    Utilities:Gas & Diesel                                     (322.15)
       11/01/2019                      Marquis Bank                            Bank Service Charges                                        (15.00)
       11/04/2019              1003    Atlantic Radio Communications Corp.     Communications Equipment                                   (457.96)
       11/04/2019              1004    Patrick Dominique                       Maintenance                                              (2,263.09)
       11/04/2019              1005    Luis Lufti                              Maintenance                                              (1,226.40)
       11/04/2019              1006    Association Specialty Group, LLC        Management Fee:Shared Facilities Unit                    (3,500.00)
       11/04/2019              1007    Neofunds                                Postage                                                     (46.57)
       11/04/2019              1008    Boucher Brothers                        Beach Services                                           (9,500.00)
       11/04/2019              1009    DEX Imaging                             Printing and Copying                                       (214.74)
       11/04/2019              1010    iTekz, LLC                              IT Support                                                 (875.00)
       11/04/2019              1011    Pro Water Treatment, Inc.               HVAC                                                     (1,300.00)
       11/04/2019              1012    American Chute & Waste Equipment        Leases:Trash Compactor                                     (384.78)
       11/04/2019              1013    Tropical Sanitation, Inc.               Trash Removal                                            (1,880.00)
       11/04/2019              1014    Tropical Sanitation, Inc.               Trash Removal                                              (425.00)
       11/06/2019              1015    Grainger                                Supplies Maintenance                                     (1,140.66)
       11/11/2019              1016    Airstron, Inc.                          Maintenance:HVAC                                         (1,950.00)
       11/11/2019              1017    Patrick Dominique                       Maintenance                                                (796.00)
       11/11/2019              1018    Luis Lufti                              Maintenance                                                (780.00)
       11/13/2019                      Marquis Bank                            Bank Service Charges                                        (15.00)
       11/18/2019              1019    Patrick Dominique                       Maintenance                                              (1,192.00)
       11/18/2019              1020    Luis Lufti                              Maintenance                                                (984.00)
       11/20/2019              1021    Costa Hollywood Property Owner LLC      Maintenance & Owner Relations Staff, Supplies M         (13,048.44)
       11/20/2019              1022    Federal Tactics Security, Inc.          Security                                                (13,119.27)
       11/21/2019                      FPL                                     Security Deposits:Utilities                             (21,712.00)
       11/21/2019                      FPL                                     Security Deposits:Utilities                             (21,377.00)
       11/21/2019                      FPL                                     Security Deposits:Utilities                             (12,905.00)
       11/21/2019                      FPL                                     Security Deposits:Utilities                             (10,099.00)
       11/21/2019                      Marquis Bank                            Bank Service Charges                                        (15.00)
       11/22/2019                      Marquis Bank                            Bank Service Charges                                        (15.00)
       11/27/2019              1023    TAW Power Systems, Inc.                 Maintenance:Generator                                      (326.35)
       11/27/2019              1024    Airstron, Inc.                          Maintenance:HVAC                                         (3,255.00)
       11/27/2019              1025    Amaro Landkeepers Inc                   Maintenance:Lawn Maintenance                             (2,400.00)
       11/27/2019              1026    Patrick Dominique                       Maintenance:Maintenance Staff                              (904.00)
       11/27/2019              1027    Luis Lufti                              Maintenance:Maintenance Staff                              (900.00)
       11/27/2019              1028    JV International Consultants, Inc.      Controller                                              (20,250.00)
       11/27/2019              1029    American Chute & Waste Equipment        Leases:Trash Compactor                                     (384.78)
       11/27/2019              1030    Grainger                                Supplies Maintenance                                     (1,216.42)
             Total                                                                                                                    (151,376.22)
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                                                      ATTACHMENT 4L

                            MONTHLY SUMMARY OF BANK ACTIVITY - DIP TAX ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                   Case Number:            19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank
reconciliation form can be found at http://www.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required
by the United States Trustee Program are necessary, permission must be obtained from the United States Trustee prior to
opening the accounts. Additionally, use of less than the three required bank accounts must be approved by the United
States Trustee.

NAME OF BANK:          Marquis Bank                                      BRANCH:                 Aventura, FL

                       Costa Hollywood Property Owner, LLC DIP Tax
ACCOUNT NAME:                                                            ACCOUNT NUMBER: *5311
                       Account

PURPOSE OF ACCOUNT:                   Tax - DIP


    Ending Balance Per Bank Statement                                                             $                  -
    Plus Total Amount of Outstanding Deposits                                                     $                  -
    Minus Total Amount of Outstanding Checks and other debits                                     $                  -       *
    Minus Service Charges                                                                         $                  -
    Ending Balance Per Check Register                                                             $                  -       **(a)

*Debit cards are used by ___________________________________________________

** If Closing Balance is negative, provide explanation:_____________________________


The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
                (   Check here if cash disbursements were authorized by United States Trustee)


      Date               Amount            Payee           Purpose                 Reason for Cash Disbursement




                             TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

                   $                              35.00   Transferred to DIP Operating Account (Marquis Bank)
                   $                                -     Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance"
on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                  STANDARD BANK RECONCILIATION

                                 Month        November       Year            2019

                                                                                    Costa Hollywood Property Owner LLC
          Account No. *5311                                     Account Name
                                                                                    DIP Tax Account


Bank Balance shown on Bank Statement                     $          -               Your transaction register balance        $    -

Add (+)                                                                             Add (+)
Deposits not shown on Bank Statement                     $                          Other credits shown on the bank
                                                                                    statement but not in transaction register $   -
Total                                                    $          -
                                                                                    Add (+)
Subtract (-)                                                                        Interest paid on bank statement          $    -
Checks and other items outstanding but not
paid on Bank Statement                                                              Total                                    $    -

Number    Amount       Number    Amount                                             Subtract (-)
                                                                                    Other debits shown on bank statement
                                                                                    but not in transaction register

                                                                                    Number       Amount
                                                                                                 $




                                 Total Subtractions      $          -                            Total Subtractions          $    -

                                 Balance                 $          -                            Balance                     $    -
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                                                     ATTACHMENT 5L

                                        CHECK REGISTER- DIP TAX ACCOUNT

Name of Debtor:    Costa Hollywood Property Owner, LLC                          Case Number:     19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

NAME OF BANK:                        Marquis Bank                               BRANCH:          Aventura, FL

ACCOUNT NAME:                        Costa Hollywood Property Owner LLC DIP Tax Account

ACCOUNT NUMBER:                      *5311

PURPOSE OF ACCOUNT:                  Tax - DIP

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated
check register can be attached to this report, provided all the information requested below is included.


                       Check
     Date                                    Payee                        Purpose                          Amount
                      Number




TOTAL                                                                                             $                     -




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                                                     ATTACHMENT 4M

                                INVESTMENTS ACCOUNTS AND PETTY CASH REPORT

                                                INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks and bonds, etc., should
be listed separately. Attach copies of account statements.

Type of Negotiable


                                                                                                  Current
Instrument              Face Value              Purchase Price         Date of Purchase           Market Value
                         $              -        $            -                                   $                     -




TOTAL                                                                                             $                     -   (a)


                                                  PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

                        (Column 2)              (Column 3)             (Column 4)
                        Maximum Amount          Amount of Petty        Difference between
Location of             of Cash in Drawer/      Cash On Hand At        (Column 2) and
Box/Account             Acct.                   End of Month           (Column 3)
Main Safe               $          9,250.00     $      10,250.00        $           (1,000.00)
Guest Services                     5,000.00             4,000.00        $            1,000.00


TOTAL                                            $      14,250.00      (b)

For any Petty Cash Disbursement over $100 per transaction, attach copies of receipts. If there are no receipts,
provide an explanation
See attached.




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH (a + b)                                                  $              14,250.00 (c)


(c) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as "Ending
Balance" on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                     ATTACHMENT 6

                                                MONTHLY TAX REPORT

Name of Debtor:       Costa Hollywood Property Owner, LLC               Case Number:           19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019

                                                TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales tax, property tax,
unemployment tax, State workmen's compensation, etc.

                          Date
 Name of Taxing                                                            Date Last Tax
                        Payment        Description         Amount                                  Tax Return Period
   Authority                                                               Return Filed
                          Due
 Broward County        12/19/2019    Occupancy Tax       $ 24,674.50         11/19/2019         11/01/2019 - 11/30/2019

   Florida DOR         12/19/2019       Sales Tax            4,105.08        11/19/2019         11/01/2019 - 11/30/2019

   Florida DOR         12/19/2019    Occupancy Tax        24,600.43          11/19/2019         11/01/2019 - 11/30/2019




TOTAL                                                    $ 53,380.01




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                                                                              ATTACHMENT 7

                                                         SUMMARY OF OFFICER OR OWNER COMPENSATION

                                                      SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

 Name of Debtor:                               Costa Hollywood Property Owner, LLC                         Case Number:                   19-22483

 Reporting Period beginning 11/01/2019 and ending 11/30/2019

 Record all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include car allowances, payments to retirement
 plans, loan repayments, payments of Officer/Owner's personal expenses, insurance premium payments, etc. Do not include reimbursement of business
 expenses Officer or Owner incurred and for which detailed receipts are maintained in the accounting records.



          Name of Officer or Owner                                           Title                          Payment Description           Amount Paid




                                                                          PERSONNEL REPORT

                                                                                                                    Full Time              Part Time
 Number of employees at beginning of period                                                                              0                     0
 Number hired during the period                                                                                          0                     0
 Number terminated or resigned during period                                                                             0                     0
 Number of employees on payroll at end of period                                                                         0                     0



                                                                     CONFIRMATION OF INSURANCE



 List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft, comprehensive, vehicle, health and life. For the
 first report, attach a copy of the declaration sheet for each type of insurance. For subsequent reports, attach a certificate of insurance for any policy in which
 a change occurs during the month (new carrier, increased policy limits, renewal, etc.).


                                                       Phone                                                                              Expiration    Date Premium
             Agent and/or Carrier                                               Policy Number                   Coverage Type
                                                       Number                                                                               Date             Due

 Carlos de Armas / Right Click Insurance Agency LLC   305.603.7348   WS150365                              Commercial General Liability   12/19/2019      10/19/2019
 Carlos de Armas / Right Click Insurance Agency LLC   305.603.7348   0311-5253-858415                      Umbrella Liability             12/19/2019      10/19/2019
 Carlos de Armas / Right Click Insurance Agency LLC   305.603.7348   2018010959288Y                        Workers Compensation           12/19/2019      10/19/2019
 Carlos de Armas / Right Click Insurance Agency LLC   305.603.7348   PCAC001945-0118                       Crime/ Emp. Theft/ Fidelity    12/19/2019      10/19/2019
 Carlos de Armas / Right Click Insurance Agency LLC   305.603.7348   550001459 / AQS181284 / AHAR1083000   Commercial Property            12/19/2019      10/19/2019
 Carlos de Armas / Right Click Insurance Agency LLC   305.603.7348   #0000267661                           Flood                          12/19/2019      10/19/2019
 The following lapse in insurance coverage occurred this month:

 Policy                                               Date
                                                                     Date Reinstated                       Reason for Lapse
 Type                                                 Lapsed




X Check here if U.S. Trustee has been listed as Certificate Holder for all insurance policies.




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                                                      ATTACHMENT 8


                            SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD


Name of the Debtor:    Costa Hollywood Property Owner, LLC                Case Number:       19-22483

Reporting Period beginning 11/01/2019 and ending 11/30/2019


Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not reported on
this report, such as the sale of real estate (attach closing statement ); (2) non-financial transactions, such as the
substitution of assets or collateral; (3) modifications to loan agreements; (4) change in senior management, etc.
Attach any relevant documents.




We anticipate filing a Plan of Reorganization and Disclosure Statement on or before ________________.




                                                           MOR-16
